Exhibit D
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    AWS Service Terms
    Last Updated: December 23, 2022

    1. Universal Service Terms (Applicable to All Services)

    The Service Terms below govern your use of the Services. Capitalized terms used in these Service Terms but
    not defined below are defined in the AWS Customer Agreement or other agreement with us governing your
    use of the Services (the “Agreement”). For purposes of these Service Terms, “Your Content” includes any
    “Company Content” and any “Customer Content,” and “AWS Content” includes “Amazon Properties.”


    1.1. You may not transfer outside the Services any software (including related documentation) you obtain
    from us or third party licensors in connection with the Services without specific authorization to do so.


    1.2. You must comply with current technical documentation applicable to the Services (including applicable
    user, admin, and developer guides) posted on the AWS Site at https://docs.aws.amazon.com/index.html (and
    any successor or related locations designated by us).


    1.3. You will provide information or other materials related to Your Content (including copies of any client-
    side applications) as reasonably requested by us to verify your compliance with the Agreement. You will
    reasonably cooperate with us to identify the source of any problem with the Services that we reasonably
    believe may be attributable to Your Content or any end user materials that you control.


    1.4. In connection with your use of the Services, you are responsible for maintaining licenses and adhering to
    the license terms of any software you run. If we reasonably believe any of Your Content violates the law,
    infringes or misappropriates the rights of any third party, or otherwise violates a material term of the
    Agreement (including the Service Terms, or the Acceptable Use Policy) (“Prohibited Content”), we will notify
    you of the Prohibited Content and may request that such content be removed from the Services or access to it
    be disabled. If you do not remove or disable access to the Prohibited Content within 2 business days of our
    notice, we may remove or disable access to the Prohibited Content or suspend the Services to the extent we
    are not able to remove or disable access to the Prohibited Content. Notwithstanding the foregoing, we may

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    remove or disable access to any Prohibited Content without prior notice in connection with illegal content,
    where the content may disrupt or threaten the Services or in accordance with applicable law or any judicial,
    regulatory or other governmental order or request. In the event that we remove Your Content without prior
    notice, we will provide prompt notice to you unless prohibited by law. We terminate the accounts of repeat
    infringers in appropriate circumstances.


    1.5. You will ensure that all information you provide to us via the AWS Site (e.g., information provided in
    connection with your registration for the Services, requests for increased usage limits) is accurate, complete,
    and not misleading.


    1.6. From time to time, we may apply upgrades, patches, bug fixes, or other maintenance to the Services and
    AWS Content (“Maintenance”). We agree to use reasonable efforts to provide you with prior notice of any
    scheduled Maintenance (except for emergency Maintenance), and you agree to use reasonable efforts to
    comply with any Maintenance requirements that we notify you about.


    1.7. If your Agreement does not include a provision on AWS Confidential Information, and you and AWS do
    not have an effective non-disclosure agreement in place, then you agree that you will not disclose AWS
    Confidential Information (as defined in the AWS Customer Agreement), except as required by law.


    1.8. You may perform benchmarks or comparative tests or evaluations (each, a “Benchmark”) of the Services.
    If you perform or disclose, or direct or permit any third party to perform or disclose, any Benchmark of any of
    the Services, you (i) will include in any disclosure, and will disclose to us, all information necessary to replicate
    such Benchmark, and (ii) agree that we may perform and disclose the results of Benchmarks of your products
    or services, irrespective of any restrictions on Benchmarks in the terms governing your products or services.


    1.9. Only the applicable AWS Contracting Party (as defined in the AWS Customer Agreement) will have
    obligations with respect to each AWS account, and no other AWS Contracting Party has any obligation with
    respect to such account. The AWS Contracting Party for an account may change as described in the
    Agreement. Invoices for each account will reflect the AWS Contracting Party that is responsible for that
    account during the applicable billing period.


    If, as of the time of a change of the AWS Contracting Party responsible for your account, you have made an
    up-front payment for any Services under such account, then the AWS Contracting Party you paid such up-
    front payment to may remain the AWS Contracting Party for the applicable account only with respect to the
    Services related to such up-front payment.


    1.10. When you use a Service, you may be able to use or be required to use one or more other Services (each,
    an “Associated Service”), and when you use an Associated Service, you are subject to the terms and fees that
    apply to that Associated Service.


    1.11. If you process the personal data of End Users or other identifiable individuals in your use of a Service,
    you are responsible for providing legally adequate privacy notices and obtaining necessary consents for the
    processing of such data. You represent to us that you have provided all necessary privacy notices and obtained
    all necessary consents. You are responsible for processing such data in accordance with applicable law.

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    1.12. If you have been charged for a Service for a period when that Service was unavailable (as defined in the
    applicable Service Level Agreement for each Service), you may request a Service credit equal to any charged
    amounts for such period.


    1.13. If you are a customer that is subject to the French Politique générale de sécurité des systems
    d’information de santé (PGSSI-S), you agree that your use of the Services complies with the PGSSI-S.


    1.14. Data Protection.


            1.14.1 These Service Terms incorporate the AWS Data Processing Addendum (“DPA”), when you use
            AWS Services to process Customer Data (as defined in the DPA).


            1.14.2 These Service Terms incorporate the AWS Supplementary Addendum to the DPA, when the
            GDPR applies to your use of the AWS Services to process Customer Data.


            1.14.3 These Service Terms incorporate the AWS UK GDPR Addendum to the DPA, when the UK GDPR
            applies to your use of the AWS Services to process UK Customer Data (as defined in the AWS UK GDPR
            Addendum).


            1.14.4 These Service Terms incorporate the Standard Contractual Clauses between controllers and
            processors (“Controller-to-Processor Clauses”) and the Standard Contractual Clauses between
            processors (“Processor-to-Processor Clauses”) approved by the European Commission Implementing
            Decision (EU) 2021/914 of 4 June 2021 (the “SCCs”). The SCCs will only apply when: (i) the GDPR
            applies to your use of the AWS Services to process Customer Data; and (ii) Customer Data is transferred
            either directly or via onward transfer, to a country outside of the European Economic Area not
            recognised by the European Commission as providing an adequate level of protection for personal data
            subject to GDPR (together a “Data Transfer”). When you are a controller (as defined in the GDPR), the
            Controller-to-Processor Clauses will apply to a Data Transfer. When you are a processor (as defined in
            the GDPR), the Processor-to-Processor Clauses will apply to a Data Transfer.


            1.14.5 These Service Terms incorporate the AWS CCPA Terms (“CCPA Terms”), when the CCPA applies to
            your use of the AWS Services to process Personal Information (as defined in the CCPA Terms).


    1.15. Following closure of your AWS account, we will delete Your Content in accordance with the technical
    documentation applicable to the Services.


    1.16. Your receipt and use of any Promotional Credits is subject to the AWS Promotional Credit Terms &
    Conditions.


    1.17. Payment Currency


            1.17.1 AWS provides a Service that enables payment in certain currencies (“Payment Currency”) other
            than United States dollars when you purchase certain Services from AWS (the “Currency Service”). When
            you purchase Services in certain countries outside of the United States, we may require you, because of

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            currency controls or other factors, to use the Currency Service. When using the Currency Service you are
            not tendering payment in one currency and receiving from us another currency.


            1.17.2 When you use the Currency Service, Service fees and charges will automatically be invoiced in
            the Payment Currency. You must pay invoices in the currency specified on each invoice, but, for credit
            card or debit card purchases, you may only make payments in currencies supported by the issuer of your
            card. If the issuer of your credit card or debit card does not support the required Payment Currency, you
            must use a different payment method that does support paying in the Payment Currency.


            1.17.3 Our fees and charges for your use of the Currency Service, if any, are included in the exchange
            rate applied to your invoice (the “Applicable Exchange Rate”). Third-parties, such as your bank, credit
            card issuer, debit card issuer, or card network, may charge you additional fees. The Applicable Exchange
            Rate is determined at the time your invoice is generated and, for invoices covering usage of Services
            over a period of time, will apply to all usage and Service charges listed on that invoice.


            1.17.4 All refunds processed against an invoice will be provided in the currency in which the invoice was
            generated and reflected as a credit memo or a payment in your Payment Currency.


            1.17.5 You agree that by using the Currency Service, information related to your payment, including
            your name and address, may be used by our banking partners to process your payments in jurisdictions
            other than the United States.


    1.18. By accessing and using AWS Content or the Services, you agree to the terms of the Intellectual Property
    License.


    1.19. We will not use Individualized Usage Data or Your Content to compete with your products and services.
    “Individualized Usage Data” means data about your use of the Services that are specifically identified with
    your AWS account.


    1.20. We may use information about how you use and interact with the Services to improve those Services.


    1.21. Information included in resource identifiers, metadata tags, access controls, rules, usage policies,
    permissions, and similar items related to the management of AWS resources does not constitute Your Content.
    AWS recommends that you do not include personally identifying, confidential, or sensitive information in
    these items.


    1.22. Tax Exempt Status


            1.22.1 To request tax exempt status for your AWS account, you must provide us with a valid tax
            exemption certificate or other equivalent documentation for the relevant jurisdiction. You are
            responsible for updating such documentation so it is accurate at all times.


            1.22.2 In certain jurisdictions (as noted in the AWS Tax Help pages), you may only use your tax-exempt
            account to purchase services that are eligible for tax exemption. If you do not use services for the

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            purpose for which your tax exemption applies, you are responsible for reporting and paying sales and
            use taxes for that usage directly to the relevant tax authorities to the extent required by law.


            1.22.3 If you are required by law to pay us using your organization’s funds to qualify for your tax
            exemption, you warrant that purchases on your account will be made with the tax-exempt
            organization’s funds.


            1.22.4 We may, in our sole discretion, reject your request for tax exempt status or revoke the tax exempt
            status of your account at any time.


    2. Betas and Previews

    2.1. This Section describes the additional terms and conditions under which you may (a) access and use certain
    features, technologies, and services made available to you by AWS that are not yet generally available,
    including, but not limited to, any products, services, or features labeled “beta”, “preview”, “pre-release”, or
    “experimental”, and any related AWS Content (each, a “Beta Service”) or (b) access and use Services and any
    related AWS Content available in AWS regions that are not generally available, including, but not limited to,
    any AWS regions identified by AWS as “beta”, “preview”, “pre-release”, or “experimental” (each, a “Beta
    Region”).


    2.2. You must comply with all terms related to any Beta Service or Beta Region as posted on the AWS Site or
    otherwise made available to you. AWS may add or modify terms, including lowering or raising any usage
    limits, related to access to or use of any Beta Services or Beta Regions at any time. Service Level Agreements
    do not apply to Beta Services or Beta Regions.


    2.3. You may provide AWS with information relating to your access, use, testing, or evaluation of Beta Services
    or Beta Regions, including observations or information regarding the performance, features, and functionality
    of Beta Services or Beta Regions (“Test Observations”). AWS will own and may use and evaluate all Test
    Observations for its own purposes. You will not use any Test Observations except for your internal evaluation
    purposes of any Beta Service or Beta Region.


    2.4. AWS may suspend or terminate your access to or use of any Beta Service or Beta Region at any time. Your
    access to and use of each Beta Service and Beta Region will automatically terminate upon the release of a
    generally available version of the applicable Beta Service or Beta Region or upon notice of termination by
    AWS. Notwithstanding anything to the contrary in the Agreement, after suspension or termination of your
    access to or use of any Beta Service or Beta Region for any reason, (a) you will not have any further right to
    access or use the applicable Beta Service or Beta Region, and (b) Your Content used in the applicable Beta
    Service or Beta Region may be deleted or inaccessible.


    2.5. Test Observations, Suggestions concerning a Beta Service or Beta Region, and any other information
    about or involving (including the existence of) any Beta Service or Beta Region are considered AWS
    Confidential Information.




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    2.6. WITHOUT LIMITING ANY DISCLAIMERS IN THE AGREEMENT OR THE SERVICE TERMS, BETA SERVICES
    AND BETA REGIONS ARE NOT READY FOR GENERAL COMMERCIAL RELEASE AND MAY CONTAIN BUGS,
    ERRORS, DEFECTS, OR HARMFUL COMPONENTS. ACCORDINGLY, AND NOTWITHSTANDING ANYTHING TO
    THE CONTRARY IN THE AGREEMENT OR THESE SERVICES TERMS, AWS IS PROVIDING BETA SERVICES AND
    BETA REGIONS TO YOU “AS IS.” AWS AND ITS AFFILIATES AND LICENSORS MAKE NO REPRESENTATIONS OR
    WARRANTIES OF ANY KIND, WHETHER EXPRESS, IMPLIED, STATUTORY, OR OTHERWISE REGARDING BETA
    SERVICES AND BETA REGIONS, INCLUDING ANY WARRANTY THAT THE BETA SERVICES AND BETA REGIONS
    WILL BECOME GENERALLY AVAILABLE, BE UNINTERRUPTED, ERROR FREE, OR FREE OF HARMFUL
    COMPONENTS, OR THAT ANY CONTENT, INCLUDING YOUR CONTENT, WILL BE SECURE OR NOT OTHERWISE
    LOST OR DAMAGED. EXCEPT TO THE EXTENT PROHIBITED BY LAW, AWS AND ITS AFFILIATES AND LICENSORS
    DISCLAIM ALL WARRANTIES, INCLUDING ANY IMPLIED WARRANTIES OF MERCHANTABILITY, SATISFACTORY
    QUALITY, FITNESS FOR A PARTICULAR PURPOSE, NON-INFRINGEMENT, OR QUIET ENJOYMENT, AND ANY
    WARRANTIES ARISING OUT OF ANY COURSE OF DEALING OR USAGE OF TRADE. AWS’S AND ITS AFFILIATES’
    AND LICENSORS’ AGGREGATE LIABILITY FOR ANY BETA SERVICES AND BETA REGIONS WILL BE LIMITED TO
    THE AMOUNT YOU ACTUALLY PAY US UNDER THIS AGREEMENT FOR THE SERVICES THAT GAVE RISE TO THE
    CLAIM DURING THE 12 MONTHS PRECEDING THE CLAIM.


    3. Amazon CloudFront

    You must own or have all necessary rights to use any domain name or SSL certificate that you use in
    conjunction with Amazon CloudFront. You are solely responsible for the renewal, security, and proper
    configuration of any SSL certificates that you provide for use with Amazon CloudFront, including any
    disclosure of your SSL certificates to third parties.


    4. AWS Outposts

    4.1. “AWS Outposts” includes AWS Outposts racks and AWS Outposts servers.


    4.2. Outposts Equipment. AWS will make equipment available to you to support your use of the AWS
    Outposts Service (the “Outposts Equipment”). AWS or its affiliates maintain all rights in the Outposts
    Equipment and is not selling, renting, leasing, or transferring any ownership, intellectual or other rights in the
    Outposts Equipment to you. You will not, and will not purport to, assign, grant, or transfer the Outposts
    Equipment or any interest in the Outposts Equipment to any individual or entity, and any such purported
    assignment, grant or transfer is void.


    4.3. Facility Assessment. You will ensure that, at all times, the facility at which the Outposts Equipment is
    located (the “Designated Facility”) meets the minimum requirements necessary to support the installation,
    maintenance, use, and removal of the Outposts Equipment as described here and otherwise as described in
    the Outposts technical documentation or indicated to you during the ordering and installation process.


    4.4. Delivery and Use. You will ensure that you have all necessary rights, certifications, and licenses for the
    delivery, installation, maintenance, use, and removal of the Outposts Equipment at the Designated Facility.
    You are responsible for any damage to the Outposts Equipment while it is at the Designated Facility, unless

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    caused by AWS. AWS may terminate your use of AWS Outposts and remove the Outposts Equipment if you
    breach these terms or the terms of the Agreement with respect to AWS Outposts.


    4.5. Access to Outposts Equipment. You will give personnel designated by AWS prompt and reasonable access
    to the Designated Facility as necessary to deliver, install, inspect, maintain, and remove the Outposts
    Equipment. You will not require AWS personnel to sign, accept, or otherwise agree to any documentation as a
    condition of accessing the Designated Facility, and you agree that the terms of any such documentation are
    void even if signed by AWS personnel. You will ensure that no one accesses, moves, or repairs the Outposts
    Equipment other than (i) personnel designated by AWS, (ii) as permitted in writing by AWS in connection with
    the maintenance of Outposts Equipment, or (iii) as necessary due to a situation involving imminent injury,
    damage to property, or an active fire alarm system. You will ensure that no one modifies, alters, reverse
    engineers, or tampers with the Outposts Equipment. You acknowledge that the Outposts Equipment may be
    equipped with tamper monitoring.


    4.6. AWS Support Options. You will remain enrolled in either Enterprise On-Ramp Support or Enterprise
    Support during the entire period of your use of AWS Outposts.


    4.7. Services/SLAs/Security. The Service Terms for any Services that run locally on AWS Outposts also apply to
    your use of those Services on AWS Outposts. There are inherent differences between Services running locally
    on AWS Outposts from those Services running at AWS operated facilities because the Outposts Equipment is
    physically located at the Designated Facility where you are responsible for physical security and access
    controls, as well as all power, networking, and environmental conditions. Due to these differences:


            a. The Service Level Agreements for any Services that run locally on AWS Outposts do not apply to your
            use of those Services on AWS Outposts.


            b. Any AWS commitments in the Agreement that depend on AWS’s operation of such physical security
            and access controls, or power, networking, and environmental conditions, do not apply to AWS
            Outposts or any Services running locally on AWS Outposts.


            c. The specific compliance and assurance programs for which AWS Outposts are in scope are listed here.
            For other Services listed here, those Services are not in scope when running locally on AWS Outposts
            unless AWS Outposts is also separately listed for the specific compliance or assurance program.


    4.8. AWS Outposts servers


            4.8.1. Installation, Use, and Removal. You are responsible for the installation, use, and removal of the
            AWS Outposts servers at the Designated Facility and returning the Outposts Equipment to AWS as
            described in the Outposts technical documentation or as otherwise indicated to you during the ordering
            process. In addition to other rights and remedies AWS may have under the Agreement, AWS may charge
            you a lost device fee if the Outposts Equipment is lost between when it is first in your possession and
            when the carrier accepts the Outposts Equipment for delivery back to AWS. You must notify and obtain
            AWS’s consent before moving the Outpost Equipment from the Designated Facility.



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    5. Amazon Elastic Compute Cloud

    5.1. In conjunction with the Services, you may be allowed to use certain software (including related
    documentation) developed and owned by Microsoft Corporation or its licensors (collectively, the “Microsoft
    Software”).


    5.1.1. If you use the Microsoft Software, Microsoft and its licensors require that you agree to these additional
    terms and conditions:

         The Microsoft Software is neither sold nor distributed to you, and you may use it solely in conjunction with
         the Services.

         You may not transfer or use the Microsoft Software outside the Services.

         You may not remove, modify, or obscure any copyright, trademark, or other proprietary rights notices that
         are contained in or on the Microsoft Software.

         You may not reverse engineer, decompile, or disassemble the Microsoft Software, except to the extent
         expressly permitted by applicable law.

         Microsoft disclaims, to the extent permitted by applicable law, all warranties by Microsoft and any liability
         by Microsoft or its suppliers for any damages, whether direct, indirect, or consequential, arising from the
         Services.

         Microsoft is not responsible for providing any support in connection with the Services. Do not contact
         Microsoft for support.

         You are not granted any right to use the Microsoft Software in any application controlling aircraft or other
         modes of human mass transportation, nuclear or chemical facilities, life support systems, implantable
         medical equipment, motor vehicles, weaponry systems, or any similar scenario (collectively, “High Risk
         Use”). Microsoft and its suppliers disclaim any express or implied warranty of fitness for High Risk Use.
         High Risk Use does not include utilization of the Microsoft Software for administrative purposes, to store
         configuration data, engineering and/or configuration tools, or other non-control applications, the failure
         of which would not result in death, personal injury, or severe physical or environmental damage. These
         non-controlling applications may communicate with the applications that perform the control, but must
         not be directly or indirectly responsible for the control function.

         Microsoft is an intended third-party beneficiary of this Section 5.1.1, with the right to enforce its
         provisions.

    5.1.2. For any instance running Microsoft Software (each, a “Microsoft Instance”), you may not use nesting,
    container, or similar technologies to sell or resell multiple instances, portions of an instance, or containers
    running within the Microsoft Instance, unless (a) you are the ultimate end user of the Microsoft Instance, (b)
    you have supplemented the Microsoft Instance with your own applications, or (c) you have added primary and
    significant functionality to the Microsoft Instance.


    5.2. In conjunction with the Services, you may be allowed to use certain software (including related support,
    maintenance, and documentation) developed, owned, or provided by third parties or their licensors. Use of
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    third party software is subject to these additional terms and conditions:

         By using NVIDIA Corporation’s GRID Software, you agree to be bound by the terms and conditions of the
         NVIDIA GRID Cloud End User License Agreement.

         By using NVIDIA Corporation’s Tesla Driver, CUDA Toolkit, cuDNN, NVENC, NVCUVID, NVM:, nvidia-smi, and
         NCCL Library Software, toolkits, and drivers, you agree to be bound by the terms and conditions of the
         NVIDIA Cloud End User License Agreement and NVIDIA Third Party Materials Notices.

         By using Red Hat, Inc.’s software, you agree to be bound by the terms and conditions of the Red Hat Cloud
         Software Subscription Agreement. Red Hat also disclaims any (i) warranties with respect to Red Hat, Inc.
         software; and (ii) liability for any damages, whether direct, indirect, incidental, special, punitive or
         consequential, and any loss of profits, revenue, data or data use, arising from use of Red Hat, Inc. software.

         By using SUSE LLC’s software, you agree to be bound by the terms and conditions of the SUSE End User
         License Agreement and the SUSE Terms and Conditions.

         By using Apple Inc.’s software, you agree to be bound by the terms and conditions of the applicable Apple
         Software License Agreement.

    5.3. Unless you specify a termination date, your Spot Instance request will remain active until the earlier of
    the following: (1) seven days have passed, (2) we fulfill it, or (3) you cancel it. We may terminate, stop, or
    hibernate Spot Instances at any time and without any notice to you if the current price for the applicable Spot
    Instance (the “Spot Price”) equals or exceeds the price you specified you were willing to pay for the Spot
    Instance (“Your Maximum Price”). Spot Instances purchased for a fixed duration (“Spot Blocks”) will not be
    terminated because the Spot Price equals or exceeds Your Maximum Price (if specified), but will terminate at
    the conclusion of the fixed duration. Spot Instances and Spot Blocks may also be terminated for AWS capacity
    requirements. If a Spot Block is terminated due to AWS capacity requirements, you will not be charged for
    that Spot Block. Spot Instances may not be used with certain Services, features, and third-party software we
    specify, including IBM software packages or Microsoft SQL Server. You may not, directly, indirectly, alone, or in
    cooperation with any third party, attempt to control, influence, or manipulate the price for Spot Instances. You
    may not submit requests for Spot Instances through any third party (e.g., “proxy bidding”) or share
    information with any third party regarding Your Maximum Price specified in your Spot Instance Requests.


    5.4. EC2 Reserved Instances and Dedicated Hosts.


    5.4.1. We may change Savings Plans, EC2 Reserved Instance and EC2 Dedicated Host Reservation pricing at
    any time, but price changes will not apply to previously designated Savings Plans, EC2 Reserved Instances or
    EC2 Dedicated Host Reservations, except as described in this Section 5.4. If Microsoft increases the license fees
    it charges for Windows, or if Red Hat increases the license fees it charges for Red Hat Enterprise Linux
    (“RHEL”), we may make a corresponding increase to the per-hour usage rate (or institute a corresponding per-
    hour usage rate) for Savings Plans for, or EC2 Reserved Instances with, Windows or RHEL. Any increase in (or
    institution of) the per-hour usage rate for Savings Plans for, or EC2 Reserved Instances with, Windows will be
    made between December 1 and January 31, and we will provide 30 days’ notice. For any increase in (or
    institution of) the per-hour usage rate for Savings Plans for, or EC2 Reserved Instances with, RHEL, we will
    provide 30 days’ advance notice. If this happens, you may: (a) continue to use your EC2 Reserved Instances

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    with Windows or RHEL with the new per-hour usage price; (b) convert your EC2 Reserved Instances with
    Windows or RHEL to comparable EC2 Reserved Instances with Linux; or (c) terminate your EC2 Reserved
    Instances with Windows or RHEL and receive a pro rata refund of the up-front fee you paid for the terminated
    EC2 Reserved Instances with Windows or RHEL.


    5.4.2. We may terminate the Savings Plans, EC2 Reserved Instance or EC2 Dedicated Host Reservation pricing
    programs at any time. Savings Plans and EC2 Dedicated Hosts are nontransferable, and EC2 Reserved
    Instances are only transferrable in accordance with the requirements of the RI Marketplace provided on the
    AWS Site. Scheduled Instances and Convertible Reserved Instances are not eligible for the RI Marketplace.
    Savings Plans, EC2 Reserved Instances and EC2 Dedicated Host Reservations are noncancellable, and EC2
    Dedicated Hosts associated with an active EC2 Dedicated Host Reservation cannot be removed from your
    account, so you will be charged for the duration of the term you selected, even if you terminate the
    Agreement. All amounts paid in connection with Savings Plans, EC2 Reserved Instances and EC2 Dedicated
    Host Reservations are nonrefundable, except that if we terminate the Agreement other than for cause,
    terminate an individual EC2 Reserved Instance or EC2 Dedicated Host Reservation type, or terminate the
    Savings Plans, EC2 Reserved Instance or EC2 Dedicated Host pricing program(s), we will refund you a pro rata
    portion of any up-front fee paid in connection with any previously designated Savings Plans, EC2 Reserved
    Instances or EC2 Dedicated Hosts. You may not purchase EC2 Reserved Instances for the purpose of reselling
    them in the RI Marketplace, and we reserve the right to refuse or cancel your purchase if we suspect you are
    doing so. Upon expiration or termination of the term of Savings Plans, EC2 Reserved Instances or EC2
    Dedicated Host Reservations, the reserved pricing will expire and standard on-demand usage prices will apply.
    You are responsible for determining if you are subject to any limitations arising from the purchase or Savings
    Plans, EC2 Reserved Instances or EC2 Dedicated Host Reservations. For example, you are responsible for
    complying with any applicable laws, policies, terms or conditions governing your payment of up-front fees or
    the expiration of reserved resources, including any fiscal or appropriation laws, or other policies or restrictions
    governing up-front payments for goods or services.


    5.5. EC2 Reserved Instance (RI) Marketplace.


    5.5.1. The rights to an active EC2 Reserved Instance can be offered for sale through the RI Marketplace as long
    as (1) the remaining term on the Reserved Instance is greater than 1 month and (2) your payment of the
    upfront charge for it has been received and processed (for credit card purchases, 30 days after you have paid
    the upfront fee, and for invoice purchases, after you have paid the applicable invoice) (a “Marketable EC2
    Reserved Instance”). You can be a “Seller” if you are a current AWS customer in good standing, you have a
    Marketable EC2 Reserved Instance associated with your AWS account, and you complete the registration
    process through your AWS account. You can be a “Buyer” if you are a current AWS customer in good standing.
    Non-U.S.-based entities may not be Sellers without providing the Form W-8BEN (Certificate of Foreign Status
    of Beneficial Owner for United States Tax Withholding) to establish that you are not a U.S. person. You can
    resell an EC2 Reserved Instance that you previously purchased through the RI Marketplace. You may not resell
    an EC2 Reserved Instance that you purchased through a discount program (Reserved Instance Volume
    Discounts or otherwise) without obtaining our prior approval.


    5.5.2. As a Seller, you will be the seller of record of your rights to a Marketable EC2 Reserved Instance. Except
    as expressly set forth in these Service Terms, we are not involved in any underlying transaction between you
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    and any Buyer. We or our affiliates may also participate in the RI Marketplace as a Seller or a Buyer. We may
    remove any Marketable EC2 Reserved Instance from the RI Marketplace at any time. Once sold and transferred
    to a Buyer, a Seller will have no rights to that Marketable EC2 Reserved Instance.


    5.5.3. On Seller’s behalf, we will process all payments for Transactions and collect the applicable Transaction
    Proceeds. “Transaction” means any sale of a Marketable EC2 Reserved Instance through the RI Marketplace.
    “Transaction Proceeds” means the gross sales proceeds received by us from any Transaction. You will ensure
    that all fees and charges payable by Buyers for Marketable EC2 Reserved Instance are billed and collected
    through us and you will not offer or establish any alternative means of payment. We may impose transaction
    limits on some or all Buyers and Sellers relating to the value of any Transaction or disbursement, the
    cumulative value of all Transactions or disbursements during a period of time, or the number of Transactions
    that we will process over a period of time. We may withhold for investigation, or refuse to process, any
    Transaction that we suspect is fraudulent, unlawful, or otherwise violates these Service Terms, the Agreement,
    or the Acceptable Use Policy. For each Transaction, we will not remit Transaction Proceeds to a Seller, and the
    Marketable EC2 Reserved Instance will not be available to the Buyer, until after we have successfully processed
    payments for that Transaction from the Buyer.


    5.5.4. You will not receive any funds collected from payments associated with the hourly prices of your
    Marketable EC2 Reserved Instance. At the end of each business day, we will pay to you all due and payable
    Transaction Proceeds that we have collected as of the date that is 2 business days prior to that date. We will
    deduct from each payment any applicable fees and charges due to us related to Marketable EC2 Reserved
    Instances. We may withhold, deduct, or setoff any amounts payable by you to us or our affiliates against any
    Transaction Proceeds. Payments will be made only to an ACH-enabled bank account located in the United
    States that you register with us. If there is an error in the processing of any Transaction, you authorize us to
    initiate debit or credit entries to your designated bank account, to correct such error, provided that any such
    correction is made in accordance with applicable laws and regulations. If we are unable to debit your
    designated bank account for any reason, you authorize us to resubmit the debit, plus any applicable fees, to
    any other bank account or payment instrument that you have on file with us or to deduct the debit and
    applicable fees from future Transaction Proceeds.


    5.5.5. Sellers are responsible for the calculation, validation, and payment of any and all sales, use, excise,
    import, export, value added, withholding, and other taxes and duties assessed, incurred, or required to be
    collected or paid (“Taxes”) for any reason in connection with any Transaction and with any Marketable EC2
    Reserved Instance. We are not responsible for determining whether any Taxes apply to any Transaction or
    remitting Taxes to any taxing authority with respect to any Transaction, or for reporting any information
    (including the payment of Taxes) with respect to any Transaction. Each Seller will indemnify us and our
    affiliates against any claim or demand for payment of any Taxes imposed in connection with any Transaction,
    and for any fines, penalties, or similar charges imposed as a result of the Seller’s failure to collect, remit, or
    report any Taxes in connection with any Transaction.


    5.5.6. For each Seller, we will collect the necessary data and tax forms to enable compliance with applicable
    tax laws. For example, for U.S.-based Sellers, we will collect and retain Seller name and address, and may
    collect the tax identification number and other data as needed to comply with Form 1099K reporting
    requirements; for non-U.S.-based Sellers, we will collect and retain a Form W-8BEN tax form (which includes
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    name, address, and a signature) as proof that you are exempt from Form 1099K reporting. For each Buyer, we
    will collect and retain the Buyer’s name and address. Buyers and Sellers will not know the name of the other
    party to the Transaction until the Transaction is completed. Upon completion of the Transaction, we will share
    the applicable Buyer’s city, state, and zip with the Seller so that the Seller can calculate the appropriate tax (if
    any) to remit to the appropriate government entity. We will share the Seller’s legal name on the Buyer’s
    invoice. Buyers and Sellers may not use information about the Transaction or about the other party gained in
    connection with a Transaction (“Transaction Information”) for any purpose that is not related to the
    Transaction. For example, you may not, directly or indirectly: (1) disclose any Transaction Information to any
    third party, except as necessary for you to perform your tax obligations or other obligations under these
    Service Terms and only if you ensure that every recipient uses the information only for that purpose and
    complies with these restrictions; (2) use any Transaction Information for any marketing or promotional
    purposes whatsoever; (3) use any Transaction Information in any way inconsistent with applicable law; (4)
    contact a party to influence them to make an alternative sale or purchase; or (5) target communications of any
    kind on the basis of the intended recipient being an RI Marketplace Buyer or Seller.

    5.6. Amazon EC2 enables you to provision Amazon EC2 instances using your Microsoft Software and Microsoft
    Licenses (the “BYOL Program”). Unless otherwise specified in your agreement(s) with Microsoft, you can
    participate in the BYOL Program only if you comply with the requirements here, and you (a) use Dedicated
    Instances or Dedicated Hosts; and (b) launch from Virtual Machines (VMs) sourced from software binaries
    provided by you.

    You must be eligible to use the BYOL Program for the applicable Microsoft Software under your agreements
    with Microsoft. You are solely responsible for obtaining all required licenses and for complying with all
    applicable Microsoft licensing requirements, including the Product Use Rights/Product Terms. By using the
    Microsoft Software under the BYOL Program, you agree to Microsoft's End User License Agreement.


    You agree that you have determined that your use of the BYOL Program will comply with the applicable
    Microsoft licensing requirements. Usage of the Services in violation of your agreement(s) with Microsoft is not
    authorized or permitted.

    5.7. As part of using Amazon EC2, you agree that your Amazon EC2 resources may be terminated or replaced
    due to failure, retirement or other AWS requirements. THE USE OF AMAZON EC2 DOES NOT GRANT YOU, AND
    YOU HEREBY WAIVE, ANY RIGHT OF PHYSICAL ACCESS TO, OR PHYSICAL POSSESSION OF, ANY AWS
    SERVERS, EQUIPMENT, REAL OR PERSONAL PROPERTY, OR OTHER ASSETS.


    6. Alexa Web Services

    You may use data you receive from the Alexa Services Web Information Service and Alexa Top Sites
    (collectively “Alexa Web Services”), such as web site traffic data, to enhance your application or website, but
    may not use it in any application whose primary purpose is to display the same or related data or to compete
    with www.alexa.com. You may not display data you receive via the Alexa Web Services that has been cached
    for more than 24 hours. You may not resell or redistribute the Alexa Web Services or data you access via the
    Alexa Web Services.


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    7. Amazon SimpleDB Service (Amazon SimpleDB)

    If during the previous 6 months you have incurred no fees for Amazon SimpleDB and have registered no usage
    of Your Content stored in Amazon SimpleDB, we may delete Your Content that is stored in Simple DB upon 30
    days prior notice to you.


    8. Amazon CloudWatch and Autoscaling

    8.1. Amazon CloudWatch collects and stores certain information for the Services you are monitoring,
    including CPU utilization, data transfer, and disk usage and activity (collectively, “CloudWatch Metric Data”).
    CloudWatch Metric Data may be used by AWS to maintain and provide the Services (including development
    and improvement of the Services).

    8.2. Amazon CloudWatch Internet Monitor (Preview)


    8.2.1. You may not, and may not allow any third party to, use Amazon CloudWatch Internet Monitor, or any
    data or information made available through Amazon CloudWatch Internet Monitor, to, directly or indirectly,
    develop, improve, or offer a similar or competing product or service. You may not resell or redistribute
    Amazon CloudWatch Internet Monitor or any metrics provided by Amazon CloudWatch Internet Monitor
    unless you have been authorized as an AWS reseller, you add material value as part of the resale or
    redistribution, you restrict recipients from further reselling or redistributing to any additional entities, and for
    each monitor, you do not resell or redistribute metrics provided by the monitor to more than one entity.


    9. AWS Import/Export Disk, AWS Snowball, AWS Snowcone and AWS Snowmobile

    9.1. “AWS Import/Export” includes: AWS Import/Export Disk, AWS Snowball, AWS Snowcone and AWS
    Snowmobile.

    9.2. We may return physical storage that you send to us in connection with your use of AWS Import/Export
    Disk (“Media”) to you for any reason. Media shipped to us for import into or export from supported AWS
    Services in the EU (Ireland) Region must originate from and be returned to an address within the European
    Union or the European Economic Area. We may refuse, return, or dispose of Media that is damaged, defective,
    unreadable, or not shipped via Amazon-approved means in accordance with the technical documentation
    (collectively, “Unsuitable Media”). We may erase any data on such Unsuitable Media. If you request and we
    return Unsuitable Media to you, you agree that we will select the shipping carrier and handling standards for
    return of such Unsuitable Media, and the carrier and standards may not be the same as (and may cost more
    than) those we use for shipping media in connection with AWS Import/Export Disk generally. You will
    reimburse us for any expenses we incur in connection with any Unsuitable Media. If we are unable to return
    Media to you due to any issue with your address or Media, we will attempt to notify you, and you will have 30
    days from the date we provide notification to resolve the issue. If the issue is not resolved, the Media will be
    deemed Unsuitable Media.

    9.3. As part of AWS Snowball and AWS Snowcone, we will ship you an agreed upon number of “Snowball” or
    "Snowcone" hardware appliances (each an “Appliance”) and provide you with access to the applicable AWS
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    Snowball Client or AWS Snowcone client software (together with the software contained on the Appliance,
    and any updates or upgrades to the foregoing, the “Appliance Software”). You agree that you will not allow
    any Appliance to leave the country to which the Appliance is shipped until you provide it (in the same country)
    to a carrier for redelivery to us. Upon our request for any reason, you will promptly return any appliance to us.
    Appliances collect and provide us with metrics regarding the use of Appliances, including boot times, size of
    transferred files, duration of transfers, and errors or timeouts. These metrics may be associated with your
    account ID, and we may use these metrics to maintain and provide the Services (including development and
    improvement of the Services).

    9.4. As part of AWS Snowmobile, we will transport a containerized data center and networking equipment
    (collectively, “Snowmobile”), and other materials, equipment, and software necessary for operation of the
    Snowmobile (collectively with the Snowmobile, the “Snowmobile Materials”). You will ensure that, at all times,
    the designated transfer location for delivery of the Snowmobile Materials (the “Transfer Site") meets the
    minimum requirements necessary to support the delivery, setup, maintenance, use, and removal of the
    Snowmobile Materials as described on the AWS Site and otherwise as described in the Snowmobile technical
    documentation or provided to you during the ordering and delivery process. You will ensure that you have all
    necessary rights, certifications, and licenses for the delivery, setup, maintenance, use, and removal of the
    Snowmobile Materials at the Transfer Site. You are responsible for any damage to the Snowmobile Materials
    while at the Transfer Site, unless caused by AWS. You may not allow Snowmobile Materials to leave the
    Transfer Site other than under the supervision of personnel designated by AWS. You will give personnel
    designated by AWS prompt and reasonable access to the Transfer Site as necessary to deliver, setup, inspect,
    maintain, and remove the Snowmobile Materials. You will not require AWS personnel to sign, accept, or
    otherwise agree to any documentation as a condition of accessing the Transfer Site, and you agree that the
    terms of any such documentation are void even if signed by AWS personnel. You will ensure that no one
    accesses, moves, or repairs the Snowmobile Materials other than (i) personnel designated by AWS, (ii) as
    permitted in writing by AWS in connection with the maintenance of Snowmobile Materials, or (iii) as necessary
    due to a situation involving imminent injury, damage to property, or an active fire alarm system. AWS may
    terminate your use of Snowmobile Materials and remove the Snowmobile Materials if you breach these terms
    or the terms of the Agreement with respect to Snowmobile Materials.

    9.5. Once AWS Import/Export services are complete, we will return the Media to you, and delete data from
    the Appliances or Snowmobiles, as applicable.


    9.6. You are responsible for payment of all customs, duties, taxes, and other charges in connection with Media
    and Appliances being shipped to or from us.


    9.7. For AWS Import/Export Disk, you will bear the entire risk of loss of, or damage to, any Media while in
    transit. For AWS Snowball and AWS Snowcone, you are responsible for any damage to, or loss of, an Appliance
    after delivery to you until the carrier accepts the Appliance for delivery back to us. In addition to other rights
    and remedies we may have under the Agreement, we may charge you the applicable lost device fee specified
    on the AWS Snowball or AWS Snowcone pricing pages if: (a) an Appliance is lost or irreparably damaged
    between when it is first in your possession and when the carrier accepts the Appliance for delivery back to us;
    or (b) unless otherwise contemplated by the technical documentation or agreed by us, you do not provide the
    Appliance to the carrier for return to us within 90 days of the date it was delivered to you.
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    9.8. YOU ARE SOLELY RESPONSIBLE FOR APPLYING APPROPRIATE SECURITY MEASURES TO YOUR DATA AND
    YOUR USE OF MEDIA, APPLIANCES AND SNOWMOBILE MATERIALS, INCLUDING ENCRYPTING SENSITIVE
    DATA AND NOT ALLOWING UNAUTHORIZED ACCESS TO ANY MEDIA, APPLIANCE OR SNOWMOBILE
    MATERIALS.


    9.9. AWS or its affiliates maintain all rights in the Appliances, Appliance Software, and Snowmobile Materials
    and is not selling, renting, leasing, or transferring any ownership, intellectual or other rights in the Appliances,
    Appliance Software, or Snowmobile Materials to you. You will not, and will not purport to, assign, grant, or
    transfer the Appliances, Appliance Software, or Snowmobile Materials or any interest in the Appliances,
    Appliance Software, or Snowmobile Materials to any individual or entity, and any such purported assignment,
    grant or transfer is void. Without limiting the foregoing, you will not (or attempt to), and will not permit or
    authorize third parties to (or attempt to), (a) scan, x-ray, open, modify, alter, disassemble, or otherwise
    attempt to view the inside of or tamper with the Appliance or Snowmobile Materials; or (b) circumvent or
    disable any features or measures in the Appliance, Appliance Software, or Snowmobile Materials. You
    acknowledge that the Appliances and Snowmobile Materials may be equipped with tamper monitoring.

    9.10. You will return all Appliances to us for assessment and to enable us to determine how they can be
    reused and which components must be recycled in an environmentally sound manner, regardless of the
    external condition of the Appliance and even if you believe the Appliance may be damaged or non-functional.
    You will not, under any circumstance, treat or dispose of an Appliance (or any component thereof, including
    internal batteries) as waste. Shipments of used Appliances must be conducted in a manner consistent with
    applicable laws relating to used electronic equipment, including where applicable the Basel Convention
    Technical Guidelines on Transboundary Movement of Used Electrical and Electronic Equipment.

    9.11. You are responsible for complying with all applicable data protection, import, re-import, export, and re-
    export control laws, including any applicable license requirements, and country-specific sanctions programs.
    You are responsible for serving as the exporter and importer of record (as applicable) for your Media, data,
    software, or technology, and you accept that AWS will not participate in the export or import procedure. If you
    are using Appliances, Media, Appliance Software, or Snowmobile Materials for dual use items in the European
    Union, you represent that you, or the legal entity you represent, are “established” in the European Union; or, if
    you are not “established” in the European Union, that you will not upload, request that we download, or
    export such dual-use items outside the European Union. If you are using Appliances, Media, Appliance
    Software, or Snowmobile Materials in the European Union for military items, you represent that you, or the
    legal entity you represent, are permitted by the Member State of your incorporation to upload, request that
    we download or export any such military items from that Member State, and it is a condition of this
    Agreement and your use of AWS Import/Export that you are so permitted.


    10. Amazon Relational Database Service (Amazon RDS)

    10.1. You may store snapshots of Your Amazon RDS Content for later use in Amazon RDS, but snapshots
    cannot be downloaded outside the Services.




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    10.2. The Reserved DB Instance program allows you to designate Amazon RDS database instances as subject
    to the reserved pricing and payment terms set forth on the Amazon RDS detail page on the AWS Site (each
    designated instance, a “Reserved DB Instance”). We may terminate the Reserved DB Instance program at any
    time. We may change pricing for the Reserved DB Instance program at any time, but price changes will not
    apply to previously designated Reserved DB Instances. Reserved DB Instances are noncancellable, and you will
    owe the amount charged for the Reserved DB Instance for the duration of the term you selected, even if the
    Agreement is terminated. Reserved DB Instances are nontransferable and all amounts paid in connection with
    the Reserved DB Instances are nonrefundable, except that if we terminate the Agreement other than for
    cause, terminate an individual Reserved DB Instance type, or terminate the Reserved DB Instance program, we
    will refund you a pro rata portion of any up-front fee paid in connection with any previously designated
    Reserved DB Instances. Upon expiration or termination of the term of a Reserved DB Instance, the Reserved
    DB Instance pricing will expire and standard on-demand usage prices will apply to the database instance.


    10.3. Using Oracle Software.


    10.3.1. “License Included”. As part of the Services, you may be allowed to use certain software (including
    related documentation) described on the AWS Site developed and owned by Oracle America, Inc. or its
    affiliates (“Oracle”) and Oracle’s licensors (collectively, the “Oracle Software”). If you choose to use the Oracle
    Software and do not already have a license from Oracle for that Oracle Software, Oracle and its licensors
    require that you agree to these additional terms and conditions:

         Oracle or its licensors retains all ownership and intellectual property rights in the Oracle Software, and
         title to the Oracle Software does not transfer to you or any third party by virtue of this Agreement.

         The Oracle Software is subject to a restricted license and may only be used in connection with the Services,
         and only by the individual or legal entity that entered into the Agreement.

         You may only use the Oracle Software for your internal business operations and in accordance with the
         Agreement. You may permit agents or contractors (including outsourcers) to use the Oracle Software on
         your behalf for the purposes set forth in, and subject to, the Agreement, provided you are responsible for
         the agent’s, contractor’s and outsourcer’s compliance with the Agreement in connection with such use.

         You may not:

             assign, grant, or transfer the Oracle Software or any interest in the Oracle Software to another
             individual or entity, and if you purport to grant a security interest in the Oracle Software, the secured
             party will have no right to use or transfer the Oracle Software;

             use the Oracle Software for rental, timesharing, subscription services, hosting, or outsourcing;

             remove or modify any notice of Oracle’s or its licensors’ proprietary rights;

             make the Oracle Software available in any manner to any third party for use in the third party’s
             business operations;

             duplicate, reverse engineer (unless required by law for interoperability), disassemble or decompile the
             Oracle Software (including by reviewing data structures or similar materials produced by the Oracle
             Software); or

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             publish any results of benchmark tests run on the Oracle Software.

         Third party technology that may be appropriate or necessary for use with some Oracle Software is
         specified in the related documentation, and that third party technology is licensed to you only for use with
         the Services and under the terms of the third party license agreement specified in the documentation, not
         this Agreement.

         To the extent permitted by applicable law, Oracle disclaims any liability for any damages, whether direct,
         indirect, incidental, special, punitive or consequential, and any loss of profits, revenue, data or data use,
         arising from your use of the Oracle Software.

         Notwithstanding anything to the contrary elsewhere in the Agreement, Oracle is an intended third party
         beneficiary of the Agreement, but solely with respect to this Section 10.3.1 of these Service Terms.

         The Uniform Computer Information Transactions Act does not apply to your use of the Oracle Software.

         Upon any termination of the Agreement, you must discontinue use of the Oracle Software and any related
         documentation.

    10.3.2. “Bring-Your-Own-License” (BYOL). Under the BYOL option, Amazon RDS enables you to provision
    Oracle Software to Amazon EC2 instances and use the management capabilities of Amazon RDS for the
    Oracle Software. You can use the Oracle Software with Amazon RDS if you meet the following conditions:

         You must have a valid license with “Software Update License & Support” for the Oracle Software you wish
         to run. The terms of your existing license and support agreement(s) with Oracle continue to apply to your
         use of the Oracle Software; and

         You must follow Oracle’s current policies for licensing Oracle Database software in the cloud computing
         environment. The database instances using the Oracle Software with Amazon RDS reside in the Amazon
         EC2 environment.

    10.4. Using Microsoft Software. “License Included.” Use of Microsoft Software on Amazon RDS is subject to
    Section 5.1 above and these additional terms and conditions:

         SQL Server Web Edition may be used only to support public and Internet accessible Web pages, Web sites,
         Web applications, or Web services. It may not be used to support line of business applications (e.g.,
         Customer Relationship Management, Enterprise Resource Management, and other similar applications).

         Microsoft is an intended third-party beneficiary of this Section 10.4, with the right to enforce its
         provisions.

    10.5. Amazon RDS Custom.

    10.5.1. RDS Custom enables you to provision and manage the database engine and operating system running
    on an Amazon EC2 instance. In conjunction with RDS Custom, you may use certain binaries, software, or
    similar media (including related support, maintenance, and documentation) developed, owned, or provided by
    third parties or their licensors. You agree that you have determined that your use of RDS Custom complies,
    and will continue to comply, with applicable licensing and support requirements. Usage of RDS Custom in
    violation of your agreement(s) with third parties is not authorized or permitted.

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    Your failure to maintain your database instance within the support perimeter (as specified in the
    documentation) may result in Service failure for which AWS is not responsible. Your customization, copies, and
    use of any additional software with RDS Custom is your responsibility and may result in your RDS Custom
    instance falling outside the support perimeter and causing Service failure for which AWS is not responsible.

    10.5.2. Your use of certain database engines or operating systems (OS) software (including related
    documentation) made available to you for use with RDS Custom is subject to the applicable third party
    licensing requirements specified below:

         Use of a Linux OS version, such as those from Red Hat, Inc., SUSE LLC, and NVIDIA Corporation, on RDS
         Custom is subject to Section 5.2. above.

         Use of “License Included” Microsoft Software on RDS Custom is subject to Sections 5.1. and 10.4. above.

    10.6. Trusted Language Extensions for PostgresSQL (Trusted Language Extensions) enables you to use, build,
    and run extensions developed, owned, or provided by you, third parties, or their licensors using PostgreSQL
    trusted languages in Amazon RDS. Extension code that you use with Trusted Language Extensions is Your
    Content under the Agreement. AWS is not responsible for Service failure caused by extensions. You consent to
    AWS scanning extension code for security and performance purposes.


    11. Amazon Simple Notification Service (Amazon SNS)

    11.1. Portions of Amazon SNS in Japan are sold and provided by AMCS LLC, an affiliate of AWS, and not AWS,
    but are otherwise subject to the terms of the Agreement.


    11.2 Portions of Amazon SNS in Singapore are sold and provided by AMCS SG PRIVATE LIMITED (“AMCS SG”),
    an affiliate of AWS, and not AWS, but are otherwise subject to the terms of the Agreement.

    11.3. Fees for Amazon SNS will apply regardless of whether delivery of your notifications is prevented,
    delayed, or blocked due to reasons outside of our control.


    11.4. You are responsible for complying with legal requirements related to unsolicited or unwanted
    communications, including without limitation, the Telephone Consumer Protection Act (TCPA), the FTC’s
    Telemarketing Sales Rule, and the EU e-Privacy Directive, or any other similar telemarketing law.

    11.5. We may change, discontinue, or deprecate support for a third party push notification platform at any
    time.


    11.6. Through your use of Amazon SNS you will not:

         Transmit any material that contains viruses, Trojan horses, worms, or any other malicious or harmful
         programs.

         Offer or purport to offer any Emergency Services. “Emergency Services” means services that allow a user
         to connect with emergency services personnel or public safety answering points, such as 911 or E911
         services.

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         If the applicable AWS Contracting Party is AWS India, “Emergency Services” shall mean services that allow
         a user to connect with emergency services personnel or public safety answering points, such as 100, 112
         services.

         Materially violate or facilitate the material violation of any local or foreign law, rule, regulation, or order,
         including laws regarding the transmission of data or software.

         Transmit material that is sexually explicit, relates to “adult services”, or contains sensitive financial or
         identifying information (such as social security numbers)

         Resell, sublicense, or timeshare the Services, or use them on behalf of anonymous or other third parties.

         Use the Services in hazardous environments (such as operation of nuclear facilities, aircraft navigation, or
         any other use that may result in foreseeable risk of injury, death, or destruction of property).

    11.7. From time to time, telecommunication providers may change or modify their rules, requirements, and
    policies (collectively “Carrier Policies”). We will make reasonable efforts to notify you of changes to Carrier
    Policies through, for example, email, Personal Health Dashboard notifications, or technical documentation.
    You are responsible for complying with all Carrier Policies that apply to your use of the Service.

    11.8. If the applicable AWS Contracting Party is AWS India, you must obtain our prior written consent before
    using Amazon SNS to send SMS messages for:

         financial transactions or payment services (e.g., mobile banking, bill presentment, bill payment, money
         transfer, peer-to-peer payment or lending credit, debit or stored value payment services);

         sweepstakes or contests; or

         advertisements or promotions for commercial products, goods, or services.


    12. AWS Identity and Access Management (IAM)

    12.1. We may change user credentials created by you using IAM if we determine in our reasonable discretion
    that a change is necessary for the protection of your AWS account and resources, and we will promptly notify
    you of any such change.

    12.2. We may change, discontinue, or deprecate support for any third-party identity provider at any time
    without prior notice.


    13. Amazon Route 53

    13.1. You may not create a hosted zone for a domain that you do not own or have authority over.


    13.2. All Domain Name System (DNS) records (other than Private DNS records) used in connection with
    Amazon Route 53 will be publicly available, and AWS will have no liability for disclosure of those DNS records.

    13.3. Domain name registration services are provided under the Amazon Route 53 Domain Name Registration
    Agreement.

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    14. AWS Elastic Beanstalk

    14.1. AWS may reject or modify any URL used in connection with an AWS Elastic Beanstalk environment that
    violates the intellectual property rights any third-party or violates the Acceptable Use Policy.


    14.2. If you stop running your AWS Elastic Beanstalk environment at any time, the [myapp] portion of the URL
    used in connection with the environment will no longer be available to you and may be used by another AWS
    customer.


    15. Amazon Simple Email Service (SES)

    15.1. Portions of Amazon SES in Singapore are sold and provided by AMCS SG PRIVATE LIMITED (“AMCS SG”),
    an affiliate of AWS, and not AWS, but are otherwise subject to the terms of the Agreement.


    15.2. Portions of Amazon SES in Japan are sold and provided by AMCS LLC (“AMCS”), an affiliate of AWS, and
    not AWS, but are otherwise subject to the terms of the Agreement.


    15.3. Like many email service providers, to increase the security and reliability of email you send, attempt to
    send, or receive using SES (“SES Email”), we (or our third-party providers) may store and scan your SES Email
    and Your Content included in SES Email to protect you and SES by preventing and blocking “spam” e-mails,
    viruses and spyware, and other harmful or unwanted items from being sent and received over SES.


    15.4. We may suspend or terminate your access to SES, or block or decline to send or receive any SES Email, if
    we determine that:

         our scan of SES Email or Your Content included in SES Email reveals abusive or low quality email (such as
         “spam”),

         SES Email bounces back to us or we receive abuse complaints (including complaints from third parties) in
         connection with your SES Email, or

         the source or ReturnPath email address you have provided us for “address bounces” or complaints is not
         successfully receiving email.

    15.5. If your SES Emails are blocked, delayed, or prevented from delivery by reasons outside of our control,
    your payment obligations continue.

    15.6. AWS is not the “sender” as defined in the CAN-SPAM Act or similar applicable law.


    16. AWS Direct Connect

    16.1. You are responsible for protecting your AWS Direct Connect connections, including using physical
    security, firewalls, and other network security tools as appropriate.




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    16.2. AWS will permit data center operators or other service providers to connect your hardware to AWS’s
    hardware at the AWS Direct Connect location(s) that you select. AWS will provide the necessary information to
    enable the data center operator or other service provider to establish and monitor this connection, including
    your name, email address, network configuration, activity information, and AWS account number.


    16.3. You are responsible for your separate relationship with the data center operator or other service
    provider, including compliance with your agreement with, and the policies and procedures of, the data center
    operator or other service provider, and payment of applicable fees to the data center operator or other service
    provider. You are responsible for providing or procuring (and AWS will not own or be responsible for) any
    equipment or cabling necessary to establish this dedicated connection.


    16.4. If the connection you establish as part of AWS Direct Connect is temporarily unavailable or terminated,
    AWS will route traffic bound for your AWS resources over the public Internet and AWS’s standard data transfer
    charges will apply. However, if you are using Amazon Virtual Private Cloud (VPC), traffic bound for your
    Amazon VPC resources will be routed through an IPsec VPN connection. If an IPsec VPN connection is
    unavailable, traffic bound for your Amazon VPC resources will not be delivered.


    17. Amazon ElastiCache

    17.1. You may not access or tamper with any software we install on the cache nodes as part of Amazon
    ElastiCache.

    17.2. The Reserved Cache Node program allows you to purchase reserved Amazon ElastiCache cache nodes
    subject to the reserved pricing and payment terms set forth on the Amazon ElastiCache detail page on the
    AWS Site (each designated instance, a “Reserved Cache Node”). We may terminate the Reserved Cache Node
    program at any time. We may change the pricing for Reserved Cache Nodes at any time, but price changes will
    not apply to previously designated Reserved Cache Nodes. Reserved Cache Nodes are nontransferable, and all
    amounts paid in connection with Reserved Cache Nodes are nonrefundable, except that if we terminate the
    Agreement other than for cause, terminate an individual Reserved Cache Node type, or terminate the
    Reserved Cache Node program, we will refund you a pro rata portion of any up-front fee paid in connection
    with any previously designated Reserved Cache Nodes. Upon expiration or termination of the term of a
    Reserved Cache Node, standard on-demand usage prices will apply to the cache nodes you use.


    18. AWS GovCloud (US) Service Terms

    18.1. Use of the Services in the AWS GovCloud (US) Regions is subject to the AWS GovCloud (US) Terms and
    Conditions available via AWS Artifact in the AWS GovCloud (US) management console.


    18.2. You are responsible for satisfying any applicable eligibility requirements for using the AWS GovCloud
    (US) Regions, including providing accurate and current registration information. We may make, directly or
    through third parties, any inquiries we consider necessary to validate information that you provide to us,
    including checking commercial and governmental databases. While we may take steps to verify the identity of
    our Customers, we cannot and do not guarantee any Customer's identity.


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    18.3. AWS makes no representation or warranty related to the US Persons status of any Customer or End User
    that may be granted access to the AWS GovCloud (US) Regions.


    18.4. You are responsible for verifying the adequacy of the AWS GovCloud (US) Regions for the processing and
    storage of Your Content and that your use of AWS Services will comply with the laws and regulations that may
    govern Your Content.


    19. Amazon DynamoDB

    The Amazon DynamoDB Reserved Capacity program allows you to purchase reserved throughput capacity
    (reads and writes) subject to the pricing and payment terms set forth on the Amazon DynamoDB detail page
    on the AWS Site (“Amazon DynamoDB Reserved Capacity”). We may terminate the Amazon DynamoDB
    Reserved Capacity program at any time. We may change the pricing for Amazon DynamoDB Reserved Capacity
    at any time, but price changes will not apply to previously purchased Amazon DynamoDB Reserved Capacity.
    Amazon DynamoDB Reserved Capacity is nontransferable and all amounts paid in connection with the
    Amazon DynamoDB Reserved Capacity are nonrefundable, except that if we terminate the Agreement (other
    than for cause) or the Amazon DynamoDB Reserved Capacity program, we will refund you a pro rata portion
    of any up-front fee paid in connection with any previously purchased Amazon DynamoDB Reserved Capacity.
    Upon expiration or termination of the term of any Amazon DynamoDB Reserved Capacity, standard on-
    demand usage prices will apply to your use of Amazon DynamoDB.


    20. AWS Marketplace

    20.1. Except to the extent Content made available through AWS Marketplace is provided to you under a
    separate license that expressly states otherwise, neither you nor any End User may, or may attempt to, (a)
    modify, alter, tamper with, repair, or otherwise create derivative works of any Content, (b) reverse engineer,
    disassemble, or decompile the Content or apply any other process or procedure to derive the source code of
    any software included in the Content, (c) resell or sublicense the Content, (d) transfer Content outside the
    Services without specific authorization to do so, or (e) tamper with or circumvent any controls or make
    unauthorized copies of the Content.

    20.2. AWS may stop providing AWS Marketplace (or any features of or listings within AWS Marketplace),
    without prior notice to you. In addition, AWS may disable or remove Content you have purchased on AWS
    Marketplace, if AWS determines that the Content may violate any Policies or any other regulations, policies, or
    laws.


    20.3. To the extent authorized by the respective third party provider on AWS Marketplace, AWS may disable
    access to or remove any Third Party Content you purchased or subscribed to on AWS Marketplace in the event
    of overdue and uncollected payments, upon AWS providing you with at least 30 days’ advance written notice.


    20.4. Professional services offered on AWS Marketplace by third parties are subject to separate terms and
    conditions specified by the respective third party. AWS has no control over and makes no guarantees about
    such services.


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    20.5. If you are a buyer on AWS Marketplace, you are responsible for collecting tax documentation,
    withholding as required, and filing all tax forms with your applicable tax authorities for your AWS Marketplace
    transactions. If you are a buyer making a payment of U.S. source services or royalty income to a non-U.S. third
    party provider, all such collection, withholding, and filing obligations are yours as we do not act as a
    Withholding Agent as defined by U.S. Treas. Reg. 1.1441-7(a).


    20.6. If the applicable AWS Contracting Party is AWS India, parties agree that this Section 20.6 will be
    applicable:


    20.6.1. If you have provided your Goods and Services Tax (GST) registration number to us so that it can be
    applied to your purchases, then the information you provide with your registration (including your GST
    registration number and the name and address associated with your GST registration) will be shared with third
    parties from whom you have purchased software on the AWS Marketplace to the extent necessary for those
    third parties to comply with GST invoicing regulations and requirements.


    20.6.2. The purchase fees and charges payable by you will be exclusive of all applicable Taxes, and will be
    made free and clear of any deduction or withholding, as may be required by law. For clarity, if any such
    deduction or withholding (including but not limited to cross-border withholding taxes) is required on any
    payment, you will pay such additional amount, as necessary, to ensure that the net amount received by AWS
    or its affiliates is equal to the amount then due and payable by you for your purchases on the AWS
    Marketplace. AWS or its affiliates will provide you with such tax forms, as are reasonably requested, in order to
    reduce or eliminate the amount of any withholding or deduction for taxes, in respect of the payments made
    by you for purchases on the AWS Marketplace. AWS or its affiliates may charge, and you will pay, all applicable
    Taxes that it or we are legally obligated or authorized to collect from you. AWS or its affiliates will not collect,
    and you will not pay, any Taxes for which you furnish us a properly completed exemption certificate, or a
    direct payment permit certificate, for which AWS or its affiliates may claim an available exemption from such
    Taxes.


    21. AWS Ground Station
    21.1. Any guidance provided through Licensing Accelerator or by AWS Ground Station is provided for your
    convenience, does not constitute legal or compliance advice, and is not subject to any legal professional
    privilege. You are responsible for making your own assessment of whether your use of AWS Ground Station
    meets applicable legal and regulatory requirements, including by engaging with a legal professional if
    necessary.


    21.2. You will not, and will not allow any third-party to, use Licensing Accelerator or AWS Ground Station to,
    directly or indirectly, develop or improve a similar or competing product or service.


    21.3. You are solely responsible for applying appropriate security measures to your space assets and the data
    transmitted to and from your space assets, including using encryption, firewalls, and other network security
    tools as appropriate, and not allowing unauthorized access to your data.



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    21.4. You represent and warrant that you own all right, title, and interest in, or have all necessary authority to
    permit use of, any space assets associated with your AWS account, and you agree to provide to AWS, upon
    request, documentation demonstrating such ownership or authority. AWS is not a party to any agreement you
    have or may enter into with any other individual or entity accessing or using the Services, any of Your Content,
    or any space assets associated with your account. You are solely responsible for your separate relationship
    with any such individual or entity.


    21.5. If your AWS Contracting Party is AWS Serviços Brasil Ltda., AWS Ground Station continues to be sold and
    provided to you by Amazon Web Services, Inc. (or other entity identified as applicable); but AWS Serviços
    Brasil Ltda. remains your AWS Contracting Party under the Agreement.


    22. Amazon Elastic Transcoder

    The distribution of files created by Amazon Elastic Transcoder may require that you obtain license rights from
    third parties, including owners or licensors of certain third party audio and video formats. You are solely
    responsible for obtaining these licenses and paying any necessary royalties or fees.


    23. AWS OpsWorks

    23.1. Your use of the AWS OpsWorks agent is governed by the AWS OpsWorks Client License Agreement. Your
    use of AWS OpsWorks for Chef Automate is subject to Chef Software Inc.’s end user license agreement. Your
    use of AWS OpsWorks for Puppet Enterprise is subject to Puppet, Inc.’s Puppet Enterprise License Agreement.


    23.2. Your use of AWS OpsWorks for Chef Automate and AWS-ApplyChefRecipes, which leverage the Chef
    Infra Client software, are subject to Progress Software Corporation’s Online Master License and Services
    Agreement for Chef (the “Progress EULA”) except that sections 1.9.2. (Product Compliance with
    Documentation) and 1.10.1. (Our Indemnification Obligation) of the Progress EULA do not apply and the
    Product, Documentation, and Technology (all as defined in the Progress EULA) are provided “as is,” with all
    faults, and Progress Software Corporation disclaims all warranties, express or implied, including, but not
    limited to, warranties of merchantability, fitness for a particular purpose, title, noninfringement, availability,
    error-free or uninterrupted operation, and any warranties arising from course of dealing, course of
    performance, or usage of trade. To the extent that Progress Software Corporation may not as a matter of
    applicable law disclaim any implied warranty, the scope and duration of such warranty will be the minimum
    permitted under applicable law.


    24. AWS CloudHSM

    In conjunction with your use of AWS CloudHSM, you may be allowed to use certain software (including related
    documentation) developed and owned by SafeNet, Inc. or its licensors (collectively, the “SafeNet Software”). If
    you use the SafeNet Software, you agree to the additional terms and conditions located here.


    25. Amazon AppStream 2.0


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    25.1. NVIDIA Software. If your application uses the NVIDIA graphics processing unit (GPU) on an Amazon
    AppStream 2.0 instance, you agree to be bound by the terms and conditions of the NVIDIA Cloud End User
    License Agreement.

    25.2. If you use the Amazon AppStream 2.0 User Pool feature to enable End Users to access applications, you
    agree that we may store and process these End Users’ email addresses in AWS Regions outside the AWS
    Regions where you are using Amazon AppStream 2.0. We will only use these email addresses to send the End
    Users email notifications to enable them to access Amazon AppStream 2.0.


    26. Amazon WorkSpaces

    26.1. Any Content that you or any End User run on, cause to interface with, or upload to your WorkSpaces is
    Your Content. You are responsible for maintaining licenses and adhering to the license terms of any of Your
    Content on your WorkSpaces.

    26.2. Use of Microsoft Software on Amazon WorkSpaces is subject to Section 5.1 above. Microsoft is an
    intended third-party beneficiary of this Section 26.2, with the right to enforce its provisions.


    26.3. Amazon WorkSpaces is designed to serve as a cloud desktop service. WorkSpaces may not be used to
    accept inbound network connections, as server instances, or to serve web traffic or your network traffic, and
    you may not reconfigure the inbound network connections of your WorkSpaces.


    26.4. You and End Users may only use the WorkSpaces client software on computer equipment owned or
    controlled by you or your End Users. Your use of the WorkSpaces client software is governed by the Amazon
    WorkSpaces Application License Agreement.


    26.5. To perform configurations, health checks, and diagnostics on Amazon WorkSpaces, we may collect and
    use performance and log information tied to the operation and management of the Service.


    26.6. Software installed by us on your WorkSpaces may connect to a license activation server hosted by AWS.
    You may not attempt to prevent any license activation function.


    26.7. As part of regular operation of Amazon WorkSpaces, WorkSpaces may be updated with operating
    system and software upgrades, patches, and bug fixes. During these updates, only software, documents, and
    settings that are part of the operating system image used for the WorkSpace or part of a user’s profile (D:
    drive in the WorkSpace) will persist.


    26.8. Microsoft BYOL Licensing. Under this option, Amazon WorkSpaces enables you to provision WorkSpaces
    using your Microsoft Software and Microsoft Licenses (the “WorkSpaces BYOL Program”). You must be eligible
    to use the WorkSpaces BYOL Program for the applicable Microsoft software under your agreement(s) with
    Microsoft. You are solely responsible for obtaining all required licenses and for complying with all applicable
    Microsoft licensing requirements, including the Product Use Rights/Product Terms. Further, you must have
    accepted Microsoft's End User License Agreement (Microsoft EULA), and by using Microsoft Software under
    the WorkSpaces BYOL Program, you agree to the Microsoft EULA. You agree that you have determined that

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    your use of the WorkSpaces BYOL Program will comply with the applicable Microsoft licensing requirements.
    Usage of the Services in violation of your agreement(s) with Microsoft is not authorized or permitted.


    27. Amazon Cognito

    27.1. We may change, discontinue, or deprecate support for any third-party identity provider at any time
    without prior notice.


    27.2. In the event a particular Cognito User Pool has no active users within a 12 month period, we may delete
    the Cognito User Pool upon 30 days’ prior notice to you.


    28. Amazon WorkDocs

    28.1. Portions of Amazon WorkDocs in Japan are sold and provided by AMCS LLC, an affiliate of AWS, and not
    AWS, but is otherwise subject to the terms of the Agreement.


    28.2. We may delete any of your End Users’ Content uploaded to Amazon WorkDocs if the End User is marked
    “Inactive” in the Amazon WorkDocs’ Administrator Dashboard and you have not been billed for more than 30
    days for this End User’s usage. We may also delete your Amazon WorkDocs site and Your Content when you
    have no End Users marked “Active” within the Amazon WorkDocs Administrator Dashboard for more than 30
    days.


    28.3. If no End User accounts associated with your AWS account have registered any usage of the Services for
    several months, then we may delete the inactive End Users’ accounts after providing 30 days’ notice.


    28.4. Your use of the Amazon WorkDocs Sync Software is governed by the Amazon WorkDocs Sync License
    Agreement.


    28.5. Your use of the Amazon WorkDocs Application is governed by the Amazon WorkDocs Application License
    Agreement.

    28.6. Open with Office 365 is Third-Party Content provided by Microsoft. By using Open with Office 365, you
    are subject to Microsoft’s terms of use and privacy policy. You are solely responsible for obtaining all required
    licenses from Microsoft to use Open with Office 365 and for complying with all applicable Microsoft licensing
    requirements.

    28.7. The Hancom document editing service is Third-Party Content. Your use of the Hancom document editing
    service through Amazon WorkDocs is subject to the Hancom Terms of Service. If you do not accept the
    Hancom Terms of Service applicable to the Hancom document editing service, then do not enable and use the
    Hancom document editing service. If you enable and use the Hancom document editing service, Hancom will
    have access to the contents of the document being edited and the End User’s user name and profile picture.
    Hancom is only authorized by AWS to access the above information for the purpose of providing the Hancom
    document editing service and only for the duration of the editing session.


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    28.8. AWS is the registrant of, and controls the DNS records for, all [name].workdocs.aws domain names
    (“Domain Names”). Customer does not acquire any rights in any such domain. Termination or suspension of
    Customer’s AWS account may result in the termination or suspension of Customer’s ability to use its
    previously assigned Domain Names. In order to use a Domain Name, Customer must comply with all
    guidelines included in the Amazon WorkDocs Site Naming Policy.


    29. Amazon Pinpoint

    29.1. Portions of Amazon Pinpoint in Japan are sold and provided by AMCS LLC (“AMCS”), an affiliate of AWS,
    and not AWS, but are otherwise subject to the terms of the Agreement.


    29.2. Portions of Amazon Pinpoint in Singapore are sold and provided by AMCS SG PRIVATE LIMITED (“AMCS
    SG”), an affiliate of AWS, and not AWS, but are otherwise subject to the terms of the Agreement.


    29.3. Amazon Pinpoint utilizes underlying functionality from the Amazon Simple Notification Service (Amazon
    SNS) and Amazon Simple Email Service (SES), and your use of Amazon Pinpoint is subject to the terms that
    govern those Services.


    29.4. You acknowledge that Amazon Pinpoint:


            a. Is not an Integrated Public Alert and Warning System (IPAWS) eligible system.


            b. Is not intended for use in, or in association with, the operation of any hazardous environments or
            critical systems. You are solely responsible for liability that may arise in association with such use.


            c. Does not support or carry emergency calling or messaging to any emergency services personnel or
            public safety answering points (“Emergency Services”), such as calls or texts to 911, and may not
            determine the physical location of your devices or your End Users, which may be required when
            contacting Emergency Services. You understand and agree that it is your responsibility to: (i) contact
            and access Emergency Services independently of Amazon Pinpoint and (ii) inform all End Users of these
            limitations.


            d. Is not a replacement for traditional telephone or mobile phone services, including but not limited to
            calling, texting, or contacting Emergency Services, and does not function as such.


    30. AWS Lambda

    We may delete, upon 30 days’ notice to you, any of Your Content uploaded to AWS Lambda if it has not been
    run for more than 3 months. You may only use Lambda’s storage resources to store function code (compiled
    or uncompiled), dependencies (e.g. layers), and related configuration and meta-data, as necessary to execute
    your code on Lambda (per the technical documentation). Any other use, including but not limited to, using
    Lambda’s storage for the purpose of hosting generally accessible content for download or storage, is not
    permitted and may result in us deleting Your Content.


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    31. Amazon WorkMail

    31.1. When you use Amazon WorkMail, you also use AWS Key Management Service, AWS IAM, and Amazon
    SES, and your use of Amazon WorkMail is subject to the terms that govern those Services.


    31.2. Amazon WorkMail provides a filtering service designed to filter unwanted emails, such as spam, phishing
    emails, and email infected with viruses. You acknowledge that the technological limitations of the filtering
    service will likely result in the capture of some legitimate email and the failure to capture some unwanted
    email, including email infected with viruses.


    31.3. Your mail domain and End Users’ accounts may be blocked, delayed, or prevented from being delivered
    by destination email servers and other reasons outside of our control. Your payment obligations continue
    regardless of whether delivery of your emails is prevented, delayed, or blocked.


    31.4. You agree not to use Amazon WorkMail for sending:

         Bulk emails, such as mass marketing emails

         Unsolicited and unwanted emails

         Phishing emails

    31.5. You are solely responsible for ensuring any emails you or your End Users send using Amazon WorkMail
    comply with the CAN-SPAM Act and all other applicable law. You agree that AWS is not the “sender” of any
    emails you or your End Users send using Amazon WorkMail as defined in the CAN-SPAM Act and all other
    applicable laws.


    31.6. Amazon WorkMail may log and use information such as server hostnames, IP addresses, timestamps,
    mail queue file identifiers, and spam filtering information for the purpose of troubleshooting or improving
    Amazon WorkMail.


    31.7. If your use of Amazon WorkMail is terminated, we may delete your data and your End Users’ mailboxes.

    31.8. Portions of Amazon WorkMail in Japan are sold and provided by AMCS LLC, an affiliate of AWS, and not
    AWS, but are otherwise subject to the terms of the Agreement.




    32. Amazon WorkSpaces Application Manager (Amazon WAM)

    32.1. When you use Amazon WAM, you also use Amazon WorkSpaces, and your use is subject to the terms
    that govern Amazon WorkSpaces.


    32.2. You may use the Amazon WAM Admin Studio only to package applications, and the Amazon WAM
    Admin Player only to validate applications, that will be delivered via Amazon WAM to your WorkSpaces.



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    32.3. As part of regular operation of Amazon WAM, we may update your Amazon WAM desktop applications
    with software upgrades, patches, and bug fixes.


    33. AWS Marketplace for Desktop Apps

    33.1. Except to the extent Content made available through AWS Marketplace for Desktop Apps is provided to
    you under a separate license that expressly states otherwise, neither you nor any End User may, or may
    attempt to, (a) modify, alter, tamper with, repair, or otherwise create derivative works of any Content, (b)
    reverse engineer, disassemble, or decompile the Content or apply any other process or procedure to derive the
    source code of any software included in the Content, (c) resell or sublicense the Content, (d) transfer Content
    outside the Services without specific authorization to do so, or (e) tamper with or circumvent any controls or
    make unauthorized copies of the Content.


    33.2. AWS may stop providing AWS Marketplace for Desktop Apps (or any features of or listings within AWS
    Marketplace for Desktop Apps), without prior notice to you. In addition, AWS may disable or remove Content
    you have purchased on AWS Marketplace for Desktop Apps, if AWS determines that the Content may violate
    any Policies or any other regulations, policies, or laws.


    33.3. If the applicable AWS Contracting Party is AWS India, parties agree that this Section 33.3 will be
    applicable:


    You have provided your GST registration number to us so that it can be applied to your purchases, then the
    information you provide with your registration (including your GST registration number and the name and
    address associated with your GST registration) will be shared with third parties from whom you have
    purchased software on the AWS Marketplace for Desktop Apps to the extent necessary for those third parties
    to comply with GST invoicing regulations and requirements.33.3.2. You will be responsible for identifying and
    paying all applicable taxes, governmental fees, and charges (including any penalties, interest, and other
    additions) that may be imposed on you with respect to the purchases you make on the AWS Marketplace for
    Desktop Apps. The purchase fees and charges payable by you will be exclusive of all applicable Taxes, and will
    be made free and clear of any deduction or withholding, as may be required by law. For clarity, if any such
    deduction or withholding (including but not limited to cross-border withholding taxes) is required on any
    payment, you will pay such additional amount, as necessary, to ensure that the net amount received by AWS
    or its affiliates is equal to the amount then due and payable by you for your purchases on the AWS
    Marketplace. AWS or its affiliates will provide you with such tax forms, as are reasonably requested, in order to
    reduce or eliminate the amount of any withholding or deduction for taxes, in respect of the payments made
    by you for purchases on the AWS Marketplace. AWS or its affiliates may charge, and you will pay, all applicable
    Taxes that it or we are legally obligated or authorized to collect from you. AWS or its affiliates will not collect,
    and you will not pay, any Taxes for which you furnish us a properly completed exemption certificate, or a
    direct payment permit certificate, for which AWS or its affiliates may claim an available exemption from such
    Taxes.


    34. AWS Directory Service


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    Use of Microsoft Software on AWS Directory Service is subject to Section 5.1 above. Microsoft is an intended
    third-party beneficiary of this Section 34, with the right to enforce its provisions.


    35. AWS Device Farm

    35.1. For any test run on an Apple device (each, an “Apple Test”), you represent and warrant that you have an
    active and valid registered Apple Developer Account under your iOS Developer Program License Agreement
    with Apple at the time any such Apple Test is run. You appoint us as your Authorized Developer (as defined in
    the Apple Developer Program License Agreement) for the duration of all Apple Tests and understand that you
    are responsible to Apple for all actions we undertake in connection with each Apple Test.


    35.2. You agree not to and not to attempt to:


    (i) perform any network discovery inside the AWS Device Farm or otherwise in connection with the test;


    (ii) generate any internet traffic from within the EC2 instances of AWS Device Farm, unless approved by us;
    internet traffic should be limited to devices only;


    (iii) root, unlock, or jailbreak any Device Farm device;


    (iv) install persistent software on devices or EC2 instances; or


    (v) factory reset or change settings on devices, or call or access third-party servers in a manner that would
    interfere with any Services.


    35.3. You acknowledge and agree that we may disclose application packages, test packages (pre- compiled),
    test script source code, application extension files, or auxiliary data files to third parties solely for purposes of
    conducting automated security verification.


    36. Amazon OpenSearch Service

    Amazon OpenSearch Service creates daily automated snapshots of your Amazon OpenSearch Service
    domains. We will maintain these automated snapshots for a period of at least 14 days after they are created.
    We may delete automated snapshots at any time after 14 days.


    37. AWS Database Migration Service

    37.1. The AWS Database Migration Service (DMS), including DMS Fleet Advisor and the AWS Schema
    Conversion Tool, is AWS Content under the Intellectual Property License, and you and all End Users may install
    and/or use it solely for the purpose of migrating or moving data, provided that: (i) at least one of the source
    data store and target data store resides in AWS; and (ii) the source and target data stores are both listed in the
    DMS Documentation of supported sources and targets.




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    37.2. The AWS Database Migration Service (DMS), including DMS Fleet Advisor and the AWS Schema
    Conversion Tool, collects performance metrics and usage patterns, including: the types of database engines
    and related configurations used; number of rows processed; and information related to schema, queries,
    compatibility, performance, and task duration and status; which when combined with database license and
    feature information are used to provide, maintain, and improve the quality of the Services and
    recommendations on potential database engine and instance migrations. DMS Fleet Advisor collects
    information about resources on your network that you designate for discovery.


    38. AWS Amplify

    You must have all necessary rights to use any domain name that you use in conjunction with AWS Amplify.


    39. AWS IoT Services

    39.1. “AWS IoT Services” means AWS IoT Core, AWS IoT Device Management, AWS IoT Device Defender, AWS
    IoT 1-Click, AWS IoT Events, AWS IoT Analytics, AWS IoT SiteWise, AWS IoT FleetWise , AWS IoT TwinMaker,
    FreeRTOS, AWS IoT ExpressLink, AWS IoT Greengrass, and AWS IoT RoboRunner.


    39.2. AWS IoT Services are not intended for use in, or in association with, the operation of any hazardous
    environments or critical systems that may lead to serious bodily injury or death or cause environmental or
    property damage, and you are solely responsible for all liability that may arise in connection with any such
    use.


    39.3. Device Shadow data for an individual device may be deleted if you do not update the Device Shadow
    data for an individual device within any given 12-month period. Device Registry data for an individual device
    may be deleted if you do not update the Registry data for an individual device within any given 7-year period.
    Once Device Shadow or Registry data has been updated for an individual device the data restriction time
    frame for that individual device resets, and the Device Shadow and Registry data storage time frame for an
    individual device starts over.

    39.4. You are responsible for the creation, distribution, and security (including enabling of access) of any IoT
    devices connected to or enabled by your AWS account.


    39.5. AWS IoT FleetWise is designed to help customers collect data from fleets of vehicles and transfer it to
    the Services for analysis and processing. Vehicle data collected through your use of AWS IoT FleetWise is
    intended for informational purposes only (including to help you train cloud-based artificial intelligence and
    machine learning models), and you may not use AWS IoT FleetWise to control or operate vehicle functions.
    You are solely responsible for all liability that may arise in connection with any use outside of AWS IoT
    FleetWise’s intended purpose and in any manner contrary to applicable vehicle regulations.


    39.6. Vehicle data collected through your use of AWS IoT FleetWise should be evaluated for accuracy as
    appropriate for your use case, including for purposes of meeting any compliance obligations you may have
    under applicable vehicle safety regulations (such as safety monitoring and reporting obligations). Such
    evaluation should include collecting and reviewing information through other industry standard means and
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    sources (such as reports from drivers of vehicles). You and your End Users are solely responsible for all
    decisions made, advice given, actions taken, and failures to take action based on your use of AWS IoT
    FleetWise.

    39.7. The Edge Agent Reference Implementation is intended to help you develop your Edge Agent for AWS
    IoT FleetWise and includes sample code that you may reference or modify so your Edge Agent meets your
    requirements. You are solely responsible for your Edge Agent, including ensuring that your Edge Agent and
    any updates and modifications thereto are deployed and maintained safely and securely in any vehicles.


    39.8. AWS IoT TwinMaker is designed to help customers build digital twins of physical systems such as
    machines, factory equipment, and buildings. Data collected through your use of AWS IoT TwinMaker should
    be evaluated for accuracy as appropriate for your use case. AWS IoT TwinMaker should not be used as a
    substitute for human monitoring of physical systems for purposes of assessing whether such systems are
    operating safely. You and your End Users are solely responsible for all decisions made, advice given, actions
    taken, and failures to take action based on your use of AWS IoT TwinMaker.


    39.9. AWS IoT ExpressLink is AWS cloud connectivity software and specifications that select AWS Partner
    Network (APN) Partners may incorporate into hardware modules they develop, manufacture, and offer to AWS
    customers. If you purchase a hardware module (including any evaluation kit) from an APN Partner that
    includes AWS IoT ExpressLink, you agree that AWS is not a party to any agreement between you and the APN
    Partner governing your purchase and use of the module, AWS is not responsible or liable to you for the
    module, and AWS does not make any representations or warranties with respect to the module.


    39.10. The FreeRTOS Extended Maintenance Plan (“FreeRTOS EMP”) provides subscribing customers with
    security patches and critical bug fixes on a chosen FreeRTOS Long Term Support (LTS) version beyond the
    expiry of that version’s initial LTS period. FreeRTOS EMP is a “Service” for purposes of the Agreement. Any
    code, fixes or patches (collectively, “EMP Patches”) that you receive, obtain or access in connection with
    FreeRTOS EMP that have not been incorporated into the publicly available FreeRTOS libraries are AWS
    Content provided to you under the Intellectual Property License, except that AWS also grants you a limited,
    non-exclusive, non-sublicensable, non-transferrable, perpetual license to (a) modify and create derivative
    works of the EMP Patches and (b) to distribute the EMP Patches in object code form only.


    39.11. AWS IoT RoboRunner provides a central data repository for storing and using data from different robot
    management systems that customers can use to build applications that help their robots work together. You
    are solely responsible for the operation of any robotic systems you use with AWS IoT RoboRunner, including
    ensuring that they are properly configured and operate safely.


    39.12. If you use Semtech as your geolocation provider in the AWS IoT Core Device Location feature, you
    authorize AWS to transmit your geolocation request parameters (e.g., location data used to run the location
    solvers) and/or resulting output data generated by the feature (e.g., geographic coordinates) to Semtech for
    troubleshooting and diagnostic purposes, and other technical support. Semtech may be outside of the AWS
    region in which you were using the feature. If you use HERE as your geolocation provider in the AWS IoT
    Device Core Location feature, the terms in Sections 82.1-82.4, 82.6-82.7, and 82.9 apply. AWS may deprecate
    or discontinue any geolocation provider within the feature at any time upon notice to you.

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    40. Amazon QuickSight

    40.1. You may enable End Users to use Amazon QuickSight under your account. If you choose to enable End
    Users under your account, it is your responsibility to inform each End User that our termination of your use of
    Amazon QuickSight will also terminate their use of Amazon QuickSight. It is also your responsibility to inform
    them that you are acting as an “Amazon QuickSight Administrator” and can perform the following actions: (a)
    activate and deactivate End Users’ Amazon QuickSight accounts; (b) control End User access to data sets and
    certain functionality of Amazon QuickSight; and (c) access information about End Users’ use of Amazon
    QuickSight.


    40.2. Amazon QuickSight may use Your Content that you select as a data source for Amazon QuickSight to
    make personalized recommendations to you, such as suggested visualizations based on your query history and
    suggested insights.


    40.3. Amazon QuickSight Machine Learning Services. “Amazon QuickSight ML Services” means Amazon
    QuickSight Q. “Amazon QuickSight ML Content” means Your Content that is processed by an Amazon
    QuickSight ML Service. The following terms apply to your use of Amazon QuickSight ML Services:


           (a) You agree and instruct that: (i) we may use and store Amazon QuickSight ML Content to maintain and
           provide Amazon QuickSight ML Services (including development and improvement of Amazon
           QuickSight ML Services and their underlying technologies); (ii) we may use and store Amazon Quicksight
           ML Content that is not personal data to develop and improve AWS and affiliate machine-learning and
           artificial intelligence technologies; and (iii) solely in connection with the development and improvement
           described in clauses (i) and (ii), we may store your Amazon QuickSight ML Content in AWS regions
           outside the AWS regions where you are using Amazon QuickSight ML Services. You may instruct AWS not
           to use and store Amazon QuickSight ML Content processed by Amazon QuickSight to develop and
           improve that Service or technologies of AWS or its affiliates by configuring an AI services opt out policy
           using AWS Organizations.


           (b) You are responsible for providing legally adequate privacy notices to End Users of your products or
           services that use Amazon QuickSight ML Services and obtaining any necessary consent from such End
           Users for the processing of Amazon QuickSight ML Content and the storage, use, and transfer of
           Amazon QuickSight ML Content as described under this Section. You represent to us that you have
           provided all necessary privacy notices and obtained all necessary consents. You are responsible for
           notifying us in the event that any Amazon QuickSight ML Content stored by Amazon QuickSight ML
           Services must be deleted under applicable law.


           (c) You will not, and will not allow any third-party to, use Amazon QuickSight ML Services to, directly or
           indirectly, develop or improve a similar or competing product or service.


    41. AWS Certificate Manager

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    41.1. By using AWS Certificate Manager (“ACM”) you authorize us, Amazon Trust Services, LLC (“ATS”), or our
    affiliates (collectively, “Amazon CA”) to apply for and obtain publicly trusted SSL/TLS certificates (each, a
    “Certificate”) from certification authorities located in the United States, some of whom may be third parties,
    for the domain name you provide to us. By submitting a request for a Certificate, you certify that (1) you are
    the Domain Name Registrant (as defined in the then current CA/Browser Forum Baseline Requirements
    Certificate Policy for the Issuance and Management of Publicly-Trusted Certificates (the “CA/B Forum
    Requirements” located here); (2) you have control over the Fully-Qualified Domain Name (as defined in the
    CA/B Forum Requirements); or (3) you have been granted authority by the Domain Name Registrant to
    authorize Amazon CA to apply for and obtain each Certificate. You acknowledge that, solely for purposes of
    obtaining the Certificate and for no other purposes, you are giving Amazon CA control over the Fully-Qualified
    Domain Name, and you approve of Amazon CA requesting the Certificate for the domain name. We may
    decline to provide you with a Certificate for any reason.


    41.2. You agree that:


    (i) All information you provide in connection with your use of Certificates is and will be accurate and complete
    information at all times (and you will promptly notify us if your information changes);


    (ii) You will review and verify the Certificate for accuracy;


    (iii) You may use a Certificate we provide to you solely on servers that are accessible at the subjectAltName(s)
    listed in the Certificate and will use the Certificate solely in compliance with all applicable laws;


    (iv) You will promptly cease using a Certificate, and promptly notify us, in the event that any information in
    the Certificate is incorrect or inaccurate;


    (v) You will promptly cease using a Certificate, and promptly notify us, if the private key associated with the
    Certificate is subject to a Key Compromise (as defined in the CA/B Forum Requirements) or the Certificate is
    otherwise subject to misuse;


    (vi) You will promptly respond to Amazon CA’s instructions concerning Key Compromise or Certificate misuse;


    (vii) You will not modify, sublicense, or create a derivative work of any Certificate (except as required to use
    the Certificate for its intended purpose) or Private Key;


    (viii) You will not, in connection with use of the Certificate, upload or distribute any files or software that may
    damage the operation of another’s computer;


    (ix) You will not make representations about or use a Certificate except as may be allowed in ATS’s CPS;


    (x) You will not, in connection with use of the Certificate, impersonate or misrepresent your affiliation with any
    entity;


    (xi) You will not permit an entity other than Amazon CA to control the Private Key matching the Public Key in
    the Certificate (where “Private Key” and “Public Key” are defined by the CA/B Forum Requirements);
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    (xii) You will not use a Certificate to breach the confidence of a third party or to send or receive unsolicited
    bulk correspondence; and


    (xiii) You acknowledge that Amazon CA (or our applicable third-party contractor) may revoke a Certificate at
    any time, and you agree that you will cease using the Certificate immediately upon our notice of such
    revocation.


    42. AWS Verified Access (Preview)

    42.1. We may change, discontinue, or deprecate support for any third-party trust provider at any time without
    prior notice.


    43. Amazon GameLift

    43.1. You may only access or use Amazon GameLift for video game server hosting; provided however, that this
    restriction does not apply to your use of the FlexMatch feature independent of other Amazon GameLift
    features.


    43.2. We or our affiliates may delete, upon 30 days' notice to you, any of Your Content uploaded to Amazon
    GameLift if it has not been run in more than 3 months.


    43.3. Your use of Amazon GameLift Local is governed by the Amazon GameLift Local License Agreement.


    43.4. The Amazon GameLift Spot Instance program allows you request that certain Amazon GameLift
    instances run pursuant to the Amazon GameLift Spot instance pricing and payment terms set forth on the
    Amazon GameLift product detail page on the Site (each requested instance, a “GL Spot Instance”). We may
    terminate the Amazon GameLift Spot Instance program at any time. We may terminate, stop, or hibernate GL
    Spot Instances at any time and without any notice to you for AWS capacity requirements. You should
    configure your game to ensure it is fault tolerant and will correctly handle interruptions. GL Spot Instances
    may not be used with certain Services, features and third-party software we specify, including those listed in
    Section 5.3, above.


    44. AWS Application Discovery Service

    When you use AWS Application Discovery Service, data that is scanned by AWS Application Discovery Service
    in your on-premises computing resources will be deemed Your Content.


    45. AWS Professional Services

    45.1. “AWS Professional Services” are advisory and consulting services that AWS provides under a statement
    of work (“SOW”) to help you use the other Services. AWS Professional Services are “Services” for purposes of
    the Agreement.



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    45.2. AWS or any of its affiliates may enter into a SOW or an addendum to the Agreement with you to provide
    AWS Professional Services. For the purposes of each SOW or addendum, the term “AWS” in the SOW, the
    addendum and the Agreement refers to the AWS entity that executes the SOW or addendum, and no other
    AWS entity has any obligations under that SOW or addendum. Each SOW or addendum (together with the
    Agreement) is intended by the parties as the final, complete, and exclusive terms of their agreement and
    supersedes all prior agreements and understandings (whether oral or written) between the parties with
    respect to the subject matter of that SOW or addendum.


    45.3. AWS will invoice you monthly for the AWS Professional Services. Payments for AWS Professional
    Services are not refundable.


    45.4. AWS does not provide legal or compliance advice. You are responsible for making your own assessment
    of whether your use of the Services meets applicable legal and regulatory requirements.


    45.5. Other than Third Party Content, Content that AWS provides as part of the AWS Professional Services is
    AWS Content. You are solely responsible for testing, deploying, maintaining and supporting Content provided
    or recommended by AWS.

    45.6. AWS may develop Content consisting of either (a) documents and diagrams (“Documents”) or (b)
    software (in source or object code form), sample code, or scripts (“Software”) for you as part of the AWS
    Professional Services (such Documents and Software, “Developed Content”). Subject to any non- Disclosure
    agreement in effect between you and AWS, AWS is not precluded from developing, using, or selling products
    or services that are similar to or related to the Developed Content. Any Developed Content provided to you by
    AWS as part of the AWS Professional Services under a SOW is licensed under the following terms:

         AWS licenses any Documents to you under the Creative Commons Attribution 4.0 International License
         (CC-BY 4.0); and

         AWS licenses any Software to you under the Apache License, Version 2.0.

    45.7. Some Developed Content may include AWS Content or Third Party Content provided under a separate
    license. In the event of a conflict between Section 45.6 above and any separate license, the separate license
    will control with respect to such AWS Content or Third Party Content.


    45.8. Any materials or information that you own or license from a third party and provide to AWS for the
    purposes of the AWS Professional Services are Your Content. If you choose to provide access to Your Content
    to AWS, then you will ensure that you have adequate rights and permissions to do so.


    45.9. If there is a conflict between this Section 45 and any AWS Implementation Services Addendum between
    you and AWS, the terms of the AWS Implementation Services Addendum will control, and references to
    “Implementation Services” in that addendum include AWS Professional Services.


    45.10. AWS and its affiliates will handle any personal data relating to your personnel (“Personnel”) that is
    provided to AWS or its affiliates in connection with a SOW in accordance with the handling practices described


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    in the AWS Privacy Notice (available at https://aws.amazon.com/privacy/). You will make the AWS Privacy
    Notice available to any Personnel whose personal data you provide to AWS or its affiliates.


    46. Amazon Redshift

    The Reserved Node program allows you to designate Amazon Redshift nodes as subject to the reserved
    pricing and payment terms set forth on the Amazon Redshift pricing page on the AWS Site (each designated
    node, a “Reserved Node”). We may terminate the Reserved Node program at any time. We may change pricing
    for the Reserved Node Program at any time, but price changes will not apply to previously designated
    Reserved Nodes. Reserved Nodes are noncancellable, and you will owe the amount charged for the Reserved
    Node for the duration of the term you selected, even if the Agreement is terminated. Reserved Nodes are
    nontransferable, and all amounts paid in connection with Reserved Nodes are nonrefundable, except that if
    we terminate the Agreement other than for cause, terminate an individual Reserved Node type, or terminate
    the Reserved Node program, we will refund you a pro rata portion of any up-front fee paid in connection with
    any previously designated Reserved Node. Upon expiration or termination of the term of a Reserved Node, the
    Reserved Node pricing will expire and standard on-demand usage prices will apply to the Amazon Redshift
    node.


    47. AWS Server Migration Service.

    47.1. When you use AWS Server Migration Service, data that is scanned by AWS Server Migration Service in
    your on-premises computing resources will be deemed Your Content.


    47.2. We may terminate the migration of any image that remains in a migration queue for 90 days or more.


    48. AWS Organizations

    48.1. AWS Organizations enables you to create an “Organization” by joining a single AWS account (the
    “Management Account,” previously called the “Master Account”) with one or more AWS accounts (each, a
    “Member Account”). Except as authorized by AWS, only AWS accounts used by you, your affiliates, your
    employees, or your subcontractors currently doing work on your behalf may be joined in an Organization. By
    joining an Organization as a Member Account, you agree: (a) to disclose billing, account activity, and account
    information of the Member Account to the Management Account; and (b) that the Management Account may
    purchase EC2 Reserved Instances on a Member Account’s behalf.

    48.2. If you enable consolidated billing, the Management Account and Member Account will be jointly and
    severally liable for all charges accrued by the Member Accounts while joined in an Organization, but the
    Management Account will be billed for all such charges in accordance with the Management Account’s
    Agreement. If a Management Account is suspended for non-payment, then all Member Accounts in the
    Organization will be suspended.


    48.3. We may enable, with at least 14 days’ prior notice to you, all features in your Organization if requested
    by the Organization’s Management Account. If your Organization has all features enabled: (i) the consolidated
    billing terms as described in Section 48.2 will apply to your Organization; (ii) the Management Account will
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    have full access to and control over its Member Accounts; and (iii) the Management Account is jointly and
    severally liable for any actions taken by its Member Accounts.


    48.4. When a Management Account uses AWS Organizations or the CreateLinkedAccount API to create an
    account (“Created Account”): (i) the Created Account will be a Member Account of the Management Account’s
    Organization with the AWS Organizations features that the Management Account enables from time to time;
    (ii) the Created Account is governed by the terms of the Management Account’s Agreement; (iii) the
    Management Account is jointly and severally liable for any actions taken by the Created Account; and (iv) an
    IAM role is created in the Created Account that grants the Management Account full administrative access to
    the Created Account.


    49. Amazon Athena

    Notwithstanding any other provision of the Agreement, you may incorporate into your programs or
    applications, and distribute as incorporated in such programs or applications, the Amazon Athena JDBC Driver
    or the Amazon Athena ODBC Driver, in each case solely for use with Amazon Athena.


    50. AWS Machine Learning and Artificial Intelligence Services

    50.1. “AI Services” means, collectively, Amazon CodeGuru Profiler, Amazon CodeGuru Reviewer, Amazon
    Comprehend, Amazon Comprehend Medical, Amazon DevOps Guru, Amazon Forecast, Amazon HealthLake,
    Amazon Kendra, Amazon Lex, Amazon Lookout for Metrics, Amazon Personalize, Amazon Polly, Amazon
    Rekognition, Amazon Textract, Amazon Transcribe, Amazon Transcribe Medical, Amazon Translate, and
    Amazon Omics. “AI Content” means Your Content that is processed by an AI Service.


    50.2. You and your End Users are responsible for all decisions made, advice given, actions taken, and failures
    to take action based on your use of AI Services. AI Services use machine learning models that generate
    predictions based on patterns in data. Output generated by a machine learning model is probabilistic and
    should be evaluated for accuracy as appropriate for your use case, including by employing human review of
    such output.


    50.3. You agree and instruct that for Amazon CodeGuru Profiler, Amazon Comprehend, Amazon Lex, Amazon
    Polly, Amazon Rekognition, Amazon Textract, Amazon Transcribe, and Amazon Translate: (a) we may use and
    store AI Content that is processed by each of the foregoing AI Services to maintain and provide the applicable
    AI Service (including development and improvement of such AI Service and its underlying technologies); (b)
    we may use and store AI Content that is not personal data to develop and improve AWS and affiliate machine-
    learning and artificial-intelligence technologies; and (c) solely in connection with the development and
    improvement described in clauses (a) and (b), we may store such AI Content in an AWS region outside of the
    AWS region where you are using such AI Service. This Section does not apply to Amazon Comprehend Medical
    or Amazon Transcribe Medical. You may instruct AWS not to use and store AI Content processed by an AI
    Service to develop and improve that Service or technologies of AWS or its affiliates by configuring an AI
    services opt out policy using AWS Organizations.



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    50.4. You are responsible for providing legally adequate privacy notices to End Users of your products or
    services that use any AI Service and obtaining any necessary consent from such End Users for the processing
    of AI Content and the storage, use, and transfer of AI Content as described under this Section 50, including
    providing any required notices and obtaining any required verifiable parental consent under the Children’s
    Online Privacy Protection Act (COPPA) or similar laws and obtaining any required consent of individuals
    appearing in any images or videos processed by an AI Service. You represent to us that you have provided all
    necessary privacy notices and obtained all necessary consents. You are responsible for notifying us in the
    event that any AI Content stored by an AI Service must be deleted under applicable law. If you use Amazon
    Lex in connection with websites, programs or other applications that are directed or targeted, in whole or in
    part, to children under age 13 and subject to COPPA or similar laws you must: (a) provide all required notices
    and obtain all required verifiable parental consent under COPPA or similar laws; and (b) notify AWS during the
    Amazon Lex set-up process using the appropriate (i) check box in the AWS console or (ii) Boolean parameter in
    the applicable Amazon Lex Model Building Service API request or response as specified by the Amazon Lex
    technical documentation. Amazon Lex does not store or retain voice or text utterance information from
    websites, programs, or other applications that you identify in accordance with this Section as being directed or
    targeted, in whole or in part, to children under age 13 and subject to COPPA or similar laws.


    50.5. You will not, and will not allow any third-party to, use the AI Services to, directly or indirectly, develop or
    improve a similar or competing product or service. The foregoing does not apply to Amazon Forecast and
    Amazon Personalize.


    50.6. AI Services are not intended for use in, or in association with, the operation of any hazardous
    environments or critical systems that may lead to serious bodily injury or death or cause environmental or
    property damage. AI Services may be used in connection with supporting healthcare services but are not
    medical devices and are not intended to be used by themselves for any clinical decision-making or other
    clinical use. You are responsible for liability that may arise in connection with any such uses.


    50.7. Notwithstanding any other provision of the Agreement, you may incorporate into your programs or
    applications, and distribute as incorporated in such programs or applications, the binary code that we
    distribute for AI Services with the AWS Mobile SDKs.


    50.8. Law Enforcement Use of Amazon Rekognition. Amazon Rekognition’s face comparison feature uses
    machine learning to detect similarities between faces in different images and generate predictions of the
    likelihood the same person appears in both images; it does not provide definitive identifications of any person.
    Given the nature of machine learning systems, the following terms apply when Law Enforcement Agencies use
    Amazon Rekognition’s face comparison feature in connection with criminal investigations. “Law Enforcement
    Agency” means a government entity whose primary purpose and responsibilities are criminal investigation,
    apprehension and prosecution.

    50.8.1. If Amazon Rekognition is used to assist in identifying a person, and actions will be taken based on the
    identification that could impact that person’s civil liberties or equivalent human rights, the decision to take
    action must be made by an appropriately trained person based on their independent examination of the
    identification evidence.


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    50.8.2. Law Enforcement Agencies that use Amazon Rekognition to assist personnel in making decisions that
    could impact civil liberties or equivalent human rights must ensure such personnel receive appropriate
    training on responsible use of facial recognition systems, including how to properly operate the system and
    interpret its results. For an example of how to implement such training, see the Facial Recognition Policy
    Development Template published by the U.S Department of Justice’s Bureau of Justice Assistance.


    50.8.3. Amazon Rekognition may not be used for sustained surveillance of a specific person without following
    an independent review process that is designed to protect civil liberties or equivalent human rights (such as
    obtaining a court order, warrant, or other authorization), unless the use is to address exigent circumstances
    involving a threat of death or serious harm to a person.


    50.8.4. Law Enforcement Agencies that use Amazon Rekognition for criminal investigations must provide a
    public disclosure describing their use of facial recognition systems. The method and content of the disclosure
    is at the reasonable discretion of the agency, but should be easily accessible to the public (such as a posting on
    a website), describe how the facial recognition system is used, and summarize safeguards in place to prevent
    violations of civil liberties or equivalent human rights. For examples, see statements and privacy assessments
    from the FBI and the Facial Recognition Policy Development Template published by the U.S Department of
    Justice’s Bureau of Justice Assistance.


    50.9. Amazon has implemented a moratorium on use of Amazon Rekognition’s face comparison feature by
    police departments in connection with criminal investigations. This moratorium does not apply to use of
    Amazon Rekognition’s face comparison feature to help identify or locate missing persons. For more
    information, see our announcement on our Amazon Day One Blog.


    51. Amazon Lightsail

    51.1. You authorize AWS to peer your Amazon Lightsail VPCs and your Amazon VPCs when using Amazon
    Lightsail VPC peering.


    51.2. Amazon Machine Images from the AWS Marketplace are offered or sold under the terms of the AWS
    Marketplace and any separate terms and conditions and privacy policies specified by the party offering or
    selling the Amazon Machine Image. Use of Microsoft Software on Amazon Lightsail is subject to Section 5.1
    above. Microsoft is an intended third-party beneficiary of this Section 51.2, with the right to enforce its
    provisions.


    51.3. You may not use Amazon Lightsail in a manner intended to avoid incurring data fees from other Services
    (e.g., proxying network traffic from Services to the public internet or other destinations or excessive data
    processing through load balancing or content delivery network (CDN) Services as described in the technical
    documentation), and if you do, we may throttle or suspend your data services or suspend your account.


    52. AWS Systems Manager

    52.1. Systems Manager may collect and transmit to AWS information regarding your use of the Services,
    including inventory items (e.g., application inventory and custom inventory items); parameters; configuration
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    data (e.g., network and state configuration); telemetry and diagnostics data; update history and registry keys;
    resource groups; and patch metadata (“Systems Information”). Systems Information may be used by AWS to
    operate and maintain (including to improve) the Service.


    52.2. Certain features of this Service include functionality that allows notifications to be sent to a contact
    channel (e.g., telephone number, email address). Your use of these features instructs us to send notifications
    (e.g., SMS/voice messages/emails) to the contact channels entered in the applicable workflows and confirms
    that you are authorized to send such notifications. Carriers may charge for notifications sent or received in
    connection with these features.

    52.3. Your use of AWS-ApplyChefRecipes is subject to Section 23.2. above.


    53. Amazon Chime

    53.1. End Users.


    53.1.1. You may enable End Users to use Amazon Chime under your account. Termination of your account’s
    use of Amazon Chime will also terminate such End Users’ paid features, Voice Connector features, and
    Business Calling features associated with your account or organization, and all such End Users will be
    converted to the free features of Amazon Chime.


    53.1.2. Amazon Chime End Users can be managed by End Users with administrative privileges (“Amazon
    Chime Administrators”). Amazon Chime Administrators can (a) upgrade or downgrade End Users’ Amazon
    Chime tier and feature set; (b) suspend End User’s access to Amazon Chime; and (c) access information about
    their End Users’ use of Amazon Chime, including call details.

    53.2. Chime PSTN Service.


    53.2.1. The term “Chime PSTN Service” as used in these Terms means the ability for you to integrate Public
    Switched Telephone Network (PSTN) calling and text messaging features into your Amazon Chime experience.
    The Chime PSTN Service includes (a) dial in access to meetings from the PSTN via standard toll numbers and
    toll-free numbers; (b) dial out access from meetings to PSTN numbers via standard toll or toll-free numbers;
    (c) dial in access to Amazon Chime softphones from the PSTN via standard toll or toll-free numbers; (d) dial
    out access from the Amazon Chime softphone to the PSTN via standard toll or toll-free numbers; (e) receiving
    text and multi-media messages in Amazon Chime messaging or to APIs via standard toll or toll-free numbers;
    (f) sending text and multi-media messages from Amazon Chime messaging or from APIs via standard toll or
    toll-free numbers; (g) dial in access to Amazon Chime Voice Connector from the PSTN via standard toll or toll-
    free numbers; (h) dial out access from the Amazon Chime Voice Connector to the PSTN via standard toll or
    toll-free numbers; (i) dial in access to APIs from PSTN via toll or toll-free phone numbers; and (j) dial out
    access from APIs to the PSTN via standard toll or toll-free numbers.


    53.2.2. Portions of the Chime PSTN Service, specifically Business Calling, Voice Connector, and SMS Text, are
    sold and provided by AMCS LLC (“AMCS”), an affiliate of AWS, and not AWS, but are otherwise subject to the
    terms of the Agreement. Your invoice will state which Services that you have used are sold to you by AMCS

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    and which are sold by AWS. Invoicing for the Chime PSTN Service is performed by AWS on behalf of AMCS for
    administrative convenience. You do not have to purchase any services sold by AMCS or the Chime PSTN
    Service to use Amazon Chime, and you may purchase the Chime PSTN Service calling features (such as
    inbound or outbound calling) separately, together, or not at all from AMCS. AWS is not a telecommunications
    provider and does not provide any telecommunications-related services.

    53.2.3. In using the Chime PSTN Service, you will not: (a) call or text PSTN telephone numbers (whether singly,
    sequentially, or automatically) to generate income from access or termination charges for you or others as a
    result of placing the call or texting, (b) engage in unusual calling patterns inconsistent with normal, individual
    use, or (c) resell the Chime PSTN Service to any third party without our prior written consent.

    53.2.4. Your use of the Chime PSTN Service in certain countries are subject to additional Country Specific
    Communications Service Terms.


    53.3. If, as a part of Amazon Chime, AMCS provides you or your End Users with any telephone number
    (whether toll or toll-free), you understand and agree that you do not own the number and you do not have
    the right to keep that number indefinitely subject to any number portability rights under applicable law.
    AMCS reserves the right to change, cancel, or move telephone numbers.

    53.4. You and your End Users have the option to use Amazon Chime to record the applicable audio or video
    session along with chat and other types of recordings (collectively, “Recording”). If you or your End Users
    request that an audio or video session or other communication be recorded, Amazon Chime will attempt to
    notify you and your End Users of the Recording by providing a brief audio or visual notice at the time you and
    your End Users sign in to participate in the applicable session or communication. You and your End Users
    acknowledge that such notice or attempted notice followed by continued participation in the session or
    communication constitutes your effective consent to the Recording. You and your End Users understand that
    use of any Recording may be subject to laws or regulations regarding the recording of telephone calls and
    other electronic communications, and that it is your and your End Users’ responsibility to comply with all
    applicable laws regarding the Recording, including properly notifying all participants in a recorded session or
    to a recorded communication that the session or communication is being recorded and obtain their consent.
    Neither AWS nor its affiliates will be liable for your or your End Users’ unlawful Recording, including failure to
    provide notice or obtain consent. Any notice provided by AWS to alert participants that a session or
    communication is being recorded may not be relied upon by you or your End Users as definitive disclosure for
    your or your End Users compliance with applicable laws regarding the Recording.


    53.5. Unless stated otherwise, your or your End Users’ subscription to any of Amazon Chime’s free features
    does not require the payment of a subscription fee. Amazon Chime’s free features are not guaranteed for any
    period of time, and AWS may restrict, change, limit, or terminate the use of "free" or "basic" features of
    Amazon Chime by any individual, entity, or group of entities. If you or your End Users sign up for and use paid
    features of Amazon Chime and then for any reason, including non-payment or breach, your or your End Users’
    access to the paid services is terminated, you and your End Users may be reverted to the free features of
    Amazon Chime and may no longer have access to data and other material that you or your End Users may
    have stored in connection with Amazon Chime, and that data and material may be deleted by AWS.


    53.6. Emergency calling.
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    53.6.1. The Chime PSTN Service, including Voice Connector features and Business Calling features, is not a
    traditional telephone service or a replacement for traditional telephone service. Amazon Chime does not
    provide emergency calling to any emergency services personnel or public safety answering points
    ("Emergency Services") outside the United States. End Users should not make an Emergency Services call from
    a location outside the United States because the call will not to be routed to the call answering service for
    that location.


    53.6.2. Within the United States, Voice Connector and Business Calling features support 911 calls to
    Emergency Services differently than through traditional telephone services. Amazon Chime may not know the
    physical location of End Users and depends on End Users having access to power and the internet. As calls to
    Emergency Services in the United States made using Voice Connector or Business Calling features will not
    automatically provide an End User’s location information, the End User must provide their emergency address
    information to the operator that answers the call. You and your End Users are responsible for ensuring that a
    valid call-back number is provided with any 911 call placed using Voice Connector or Business Calling. You are
    solely responsible for any arrangements with third parties to provide your End Users with access to Emergency
    Services, and AWS makes no representations or warranties regarding the use of any such arrangements with
    Amazon Chime. You agree to inform your End Users that (a) the Chime PSTN Service cannot be used to make
    calls if the End User experiences a power outage, cannot access the Internet, or their device has no power, (b)
    Emergency Services calls in the United States using the Chime PSTN Service may not be routed appropriately
    because Amazon Chime may not know the End User’s location, and (c) End Users may access Emergency
    Services via other means that may be available to them, including any alternative arrangements that you
    make available.


    53.6.3. The Amazon Chime SDK features do not support calls to Emergency Services. If you permit End Users
    to place outbound calls or send outbound SMS from a dialpad enabled by Amazon Chime SDK, you must
    provide prominent notice to your End Users that access to the Emergency Services is not supported.


    53.6.4. Neither AWS nor its affiliates are liable for any damages resulting from any Emergency Services call or
    any inability to place or complete an Emergency Services call using Amazon Chime. AWS disclaims all
    responsibility for the conduct of local emergency response centers, third parties engaged by you to facilitate
    emergency response location or other address updates, and all other third parties involved in the provision of
    Emergency Services. As permitted by applicable law, you agree to release, indemnify, and hold harmless AWS
    and its affiliates from and against any liability relating to: (a) any acts or omissions of such third parties or
    other third parties involved in the handling of or response to any emergency call, (b) your inability to use the
    Chime PSTN Service to contact Emergency Services due to lack of power or internet access; (c) any failure by
    you or your End Users to provide accurate caller location information or call back information; or (d) your
    failure to make additional arrangements to access Emergency Services.


    53.7. Amazon Chime in Japan is sold and provided by AMCS, but is otherwise subject to the terms of the
    Agreement.


    53.8. Amazon Chime in Singapore is sold and provided by AMCS SG PRIVATE LIMITED, an affiliate of AWS, but
    is otherwise subject to the terms of the Agreement.


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    53.9. You understand and agree that we store all user information (including chat messages, contacts,
    calendar, and meeting recordings) in the United States region(s) where the Amazon Chime service is hosted.


    53.10. The Chime PSTN Service in the European Economic Area (EEA), the United Kingdom and Switzerland is
    sold and provided by AMCS, but is otherwise subject to the terms of the Agreement.


    54. Amazon Connect

    54.1. Connect PSTN Service.


    54.1.1. The term “Connect PSTN Service” as used in these Service Terms means the inbound and outbound
    Public Switched Telephone Network (PSTN) calling features that you may optionally purchase to use with
    Amazon Connect. The Connect PSTN Service includes dial in access to Amazon Connect from the PSTN via
    standard toll numbers and toll-free numbers.


    54.1.2. The Connect PSTN Service is sold and provided by AMCS LLC (“AMCS”), an affiliate of AWS, and not
    AWS, but is otherwise subject to the terms of the Agreement. The Connect PSTN Service for Singapore is sold
    and provided by AMCS SG PRIVATE LIMITED (“AMCS SG”), an affiliate of AWS, and not AWS, but is otherwise
    subject to the terms of the Agreement. Invoicing for the Connect PSTN Service is performed by AWS on behalf
    of AMCS and AMCS SG for administrative convenience. You do not have to purchase any service sold by AMCS,
    AMCS SG, or the Connect PSTN Service to use Amazon Connect, and you may purchase the Connect PSTN
    Service calling features (such as inbound or outbound calling) separately, together, or not at all from AMCS or
    AMCS SG. AWS is not a telecommunications provider and does not provide any telecommunications-related
    services.


    54.1.3. In using the Connect PSTN Service, you will not: (a) call PSTN telephone numbers (whether singly,
    sequentially, or automatically) to generate income from access or termination charges for you or others as a
    result of placing the call, or (b) engage in unusual calling patterns inconsistent with normal, individual use.

    54.1.4. If as a part of the Amazon Connect service, AMCS or AMCS SG provides you with an inbound calling
    number (whether toll or toll-free), you understand and agree that you do not own the number and you do not
    have the right to keep that number indefinitely subject to any number portability rights under applicable law.
    AMCS and AMCS SG reserve the right to change, cancel, or move telephone numbers.

    54.1.5. Your use of the Connect PSTN Service in certain countries are subject to additional Country Specific
    Communications Service Terms.


    54.2. Emergency calling


    54.2.1. The Connect PSTN Service is not a replacement for traditional telephone services. Amazon Connect
    does not support or carry emergency calling to any emergency services personnel or public safety answering
    points (“Emergency Services”) outside the United States. Your call agents and other End Users that may use
    Amazon Connect should not make an Emergency Services call from a location outside the United States
    because the call will not to be routed to the call answering service for that location.


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    54.2.2. Within the United States, the Connect PSTN Service supports 911 calls to Emergency Services
    differently than through traditional telephone services. Amazon Connect may not know the physical location
    of End Users and depends on End Users having access to power and the internet. You and your End Users are
    responsible for ensuring that current location information and a valid callback number for the End User is
    available to Amazon Connect for any 911 call placed using the Connect PSTN Service. You agree to inform all
    call agents and other End Users that may use Amazon Connect that: a) the Connect PSTN Service cannot be
    used to make calls if the call agent or other End User experiences a power outage, cannot access the Internet,
    or their device has no power, (b) Emergency Services calls in the United States using the Connect PSTN Service
    may not be routed appropriately because Amazon Connect may not know the call agent’s or other End User’s
    location, and (c) they may access Emergency Services via other means that may be available to them,
    including any alternative arrangements that you have made available.

    54.2.3. Neither AWS nor its affiliates will be liable for any damages resulting from any Emergency Services call
    or any inability to place an Emergency Services call using Amazon Connect. AWS disclaims all responsibility
    for the conduct of local emergency response centers, third parties engaged by you to facilitate emergency
    response location or other address updates, and all other third parties involved in the provision of Emergency
    Services. As permitted by applicable law, you agree to release, indemnify, and hold harmless AWS and its
    affiliates from and against any liability relating to: (a) any acts or omissions of such third parties or other third
    parties involved in the handling of or response to any emergency call, (b) your inability to use the Connect
    PSTN Service to contact Emergency Services due to lack of power or internet access; (c) any failure by you,
    your call agents or your other End Users that may use Amazon Connect to provide accurate caller location
    information or call back information; or (d) your failure to make additional arrangements to access Emergency
    Services.


    54.3. There are important service limitations with Amazon Connect. You must carefully review and comply
    with the applicable technical documentation at all times, including limitations related to call rates and
    frequency, automated calling, calls to certain regions and others. If you believe you will exceed any limitations
    for legitimate reasons, you must contact customer service ahead of time to request applicable exceptions,
    which we may or may not make in our reasonable discretion. Amazon Connect does not support calls to or
    from facsimile machines or modems. Any caller identification service provided as a part of Amazon Connect is
    not guaranteed to function at all times.

    54.4. It is your responsibility to use Amazon Connect in compliance with the laws and regulations of the
    countries where you and your call agents are located, including any regulations governing the use of the
    internet for voice communications and messaging. In India, you agree that you will not allow your call agents
    or other End Users located in India to use Amazon Connect to place calls to Indian telephone numbers or
    otherwise to third parties located in India.


    54.5. You and your End Users have the option to request that Amazon Connect record an applicable audio
    session along with chat and other types of recordings (collectively, “Recording”). You and your End Users
    understand that the making of or use of any Recording may be subject to laws or regulations regarding the
    recording of telephone calls and other electronic communications or of communications generally, and that it
    is your and your End Users’ responsibility to comply with all applicable laws regarding any Recording,


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    including properly notifying all participants in a recorded session or to a recorded communication that the
    session or communication is being recorded and obtain their consent. Neither AWS nor its affiliates will be
    liable for your or your End Users’ unlawful Recording, including failure to provide notice or obtain consent.


    54.6. To enable the Apple Business Chat integration with Amazon Connect, you must create an Apple Business
    Register account and are responsible for reviewing and accepting any Apple terms pertaining to use of Apple
    Business Chat, such as Apple’s Terms of Use. You agree that you are solely responsible for your or your End
    User’s use of Apple Business Chat, the content you or your End Users send through Apple Business Chat, and
    compliance with applicable Apple terms.

    54.7. Amazon Connect Machine Learning Services. “Amazon Connect ML Services” means, collectively,
    Contact Lens for Amazon Connect, Amazon Connect Customer Profiles Identity Resolution, Amazon Connect
    outbound campaigns with answering machine detection enabled, Amazon Connect Wisdom, and Amazon
    Connect Forecasting, Capacity Planning, and Scheduling. “Amazon Connect ML Content” means Your Content
    that is processed by an Amazon Connect ML Service. The following terms apply to your use of Amazon
    Connect ML Services:

            (a) You agree and instruct that: (i) we may use and store Amazon Connect ML Content to maintain and
            provide Amazon Connect ML Services (including development and improvement of Amazon Connect ML
            Services and their underlying technologies); (ii) we may use and store Amazon Connect ML Content that
            is not personal data to develop and improve AWS and affiliate machine-learning and artificial
            intelligence technologies; and (iii) solely in connection with the development and improvement
            described in clauses (i) and (ii), we may store your Amazon Connect ML Content in AWS regions outside
            the AWS regions where you are using Amazon Connect ML Services. You may instruct AWS not to use
            and store Amazon Connect ML Content processed by Amazon Connect ML Services to develop and
            improve that Service or technologies of AWS or its affiliates by configuring an AI services opt out policy
            using AWS Organizations.

            (b) You are responsible for providing legally adequate privacy notices to End Users of your products or
            services that use Amazon Connect ML Services and obtaining any necessary consent from such End
            Users for the processing of Amazon Connect ML Content and the storage, use, and transfer of Amazon
            Connect ML Content as described under this Section. You represent to us that you have provided all
            necessary privacy notices and obtained all necessary consents. You are responsible for notifying us in
            the event that any Amazon Connect ML Content stored by Amazon Connect ML Services must be
            deleted under applicable law.

            (c) You will not, and will not allow any third-party to, use Amazon Connect ML Services to, directly or
            indirectly, develop or improve a similar or competing product or service.

    54.8. Amazon Connect Voice ID


    54.8.1. If you use Amazon Connect Voice ID in a jurisdiction that has legal requirements related to the
    collection, possession, processing, use, disclosure, storage of any biometric information or identifiers
    (“biometric data”), including without limitation the Illinois Biometric Information Privacy Act, the Texas

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    Capture or Use of Biometric Identifier Act, the Washington Biometric Identifier statute, the California
    Consumer Privacy Act, and the EU General Data Protection Regulation or any other similar privacy or
    biometric laws, then in addition to complying with all applicable legal requirements you must obtain all
    necessary rights, consents (including informed written consents and explicit consents, as required by law), and
    releases in advance for AWS to collect, possess, process, use, and store biometric data on your behalf.


    If your caller is a resident of or located in Illinois, and you are subject to the Illinois Biometric Information
    Privacy Act (“BIPA”), the following terms and requirements also apply when you use the service:


            (a) Written policy and retention schedule. Except as required or permitted by applicable law. AWS will
            permanently destroy biometric data when the initial purpose for collecting or obtaining such data has
            been satisfied, within three years after the caller's last interaction with the Services, or after being
            informed by you that the biometric data should be destroyed, whichever occurs first.


            (b) Written notice and release. You must provide the following information in writing to, and obtain an
            executed written release as required by BIPA from, each caller in Illinois: “[Your company name
            (“Company”)] uses Amazon Web Services as a service provider for voice verification services. Biometric
            identifiers and biometric information (“biometric data”) may be collected, stored, and used by Amazon
            Web Services on behalf of [Company] for the purpose of comparing the voice of a caller with a voice
            that has been previously recorded, for fraud and security purposes. Biometric information that is
            generated as part of this process will be retained for up to three years after your last interaction with
            [Company], or longer only if allowed or required by applicable law, and thereafter destroyed. Except as
            required or permitted by applicable law, Amazon Web Services will permanently destroy biometric data
            that is stored on [Company’s] behalf when the initial purpose for collecting or obtaining such data has
            been satisfied, within three years after your last interaction with the services, or after being informed by
            [Company] that such data should be destroyed, whichever comes first. Biometric information may be
            disclosed between [Company] and Amazon Web Services as necessary to provide and receive this
            service. You hereby provide your express, informed, written release and consent for [Company] and
            Amazon Web Services to collect, use, and store your biometric data as described herein.”


    If you do not comply with these requirements or otherwise comply with all applicable laws, you may not use
    the service. You agree to cooperate with AWS to confirm compliance with all applicable laws and these
    requirements upon AWS’s request, including by providing AWS with verification that you have obtained the
    required written release under BIPA from end users. You will defend and indemnify AWS for any and all
    damages, liabilities, penalties, fines, costs, and expenses (including reasonable attorney fee’s) arising out of or
    in any way related to your direct or indirect failure to meet the requirements of this section or comply with
    applicable laws, and will promptly provide AWS with proof of insurance coverage upon request. You hereby
    release all AWS from all damages, liabilities, penalties, fines, costs, and expenses (including reasonable
    attorneys’ fees) in connection with any claim, action, audit, suit, investigation, or other proceedings related to
    your failure to meet such requirements or to otherwise comply with applicable law.


    54.8.2. You will not, and will not allow any third-party to, use Amazon Connect Voice ID to, directly or
    indirectly, develop or improve a similar or competing product or service.

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    54.8.3. Amazon Connect Voice ID uses machine learning models that generate predictions based on patterns
    in data. Output generated by Amazon Connect Voice ID is probabilistic and should be evaluated for accuracy
    as appropriate for your use case, including by employing human review of the output or combining it with
    other verification factors. You and your End Users are responsible for all decisions made, advice given, actions
    taken, and failures to take action based on your use of Amazon Connect Voice ID.

    54.9. Amazon Connect outbound campaigns. You are responsible for complying with legal requirements
    related to unsolicited or unwanted communications, including without limitation the Telephone Consumer
    Protection Act (TCPA), the FTC’s Telemarketing Sales Rule, and the EU e-Privacy Directive, or any other similar
    telemarketing law.


    55. AWS Greengrass

    Your use of the AWS Greengrass Core is governed by the AWS Greengrass Core Software License.


    56. AWS Migration Hub

    When you use AWS Migration Hub, data that is scanned by AWS Migration Hub in your on-premises computing
    resources will be deemed Your Content.


    57. Amazon MQ (AMQ)

    If your messages sent through Amazon MQ are blocked, delayed, or prevented from delivery by reasons
    outside of our control, your payment obligations continue.


    58. AWS Media Services

    58.1. The distribution of files created by AWS Media Services may require that you obtain license rights from
    third parties, including owners or licensors of certain third party audio and video formats. You are solely
    responsible for obtaining such licenses and paying any necessary royalties or fees.

    58.2. AWS Elemental MediaConnect and Amazon Interactive Video Service (“IVS”) in Japan are sold and
    provided by AMCS LLC, an affiliate of AWS, and not AWS, but are otherwise subject to the terms of the
    Agreement.

    58.3. AWS Elemental Media Event Management (MEM)


            58.3.1. In order to provide MEM, we may request that you implement specific AWS Elemental Software
            updates and/or provide us with prompt and reasonable access to your AWS Elemental Products. MEM
            Services do not include installation, configuration, administration, performance, operation, error, fault
            or defect resolution or other support and maintenance of any AWS Elemental Products, AWS Services or
            any third-party products (or any combination of any of the foregoing).


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            58.3.2. AWS does not provide security, risk, governance, legal or compliance advice. You are responsible
            for making your own assessment of whether your use of the MEM Services meets applicable legal and
            regulatory requirements. You are also solely responsible for carrying out any advice or
            recommendations we provide.


            58.3.3. Payments for MEM Services are not refundable, and your sole remedy is for AWS to re-perform
            the relevant MEM Services, provided that you must notify us of any failure within 10 business days of
            the original date of performance. We will invoice you in the manner set forth on your engagement
            summary.


    59. Alexa for Business

    59.1. “Alexa for Business” means the Alexa for Business Service as described in the technical documentation
    and is subject to the terms of the Agreement. If you use an Amazon device with Alexa for Business, you are
    also subject to and agree to the Amazon Device Terms of Use, except terms for Alexa voice services, which are
    subject to the terms of the Agreement.


    59.2. You agree and instruct that: (a) we may use and store Your Content that is processed by Alexa for
    Business (“Alexa Content”) to maintain and provide Alexa for Business (including development and
    improvement of Alexa for Business and its underlying technologies); (b) we may use and store Alexa Content
    that is not personal data to develop and improve AWS and affiliate machine learning and artificial intelligence
    technologies; and (c) solely in connection with the usage and storage described in clauses (a) and (b), we may
    store your Alexa Content in AWS regions outside the AWS regions where you are using Alexa for Business.


    59.3. You are responsible for protecting your Alexa for Business devices, including using physical and logical
    security, firewalls, and other network security tools as appropriate.


    59.4. Alexa for Business may include services or applications provided by a third party. If you utilize third party
    services with Alexa for Business, you agree that we may exchange related information with that third party
    service. Your or your End Users’ use of any third party service is subject to the Agreement and any third party
    terms applicable to such third party service. When using a third party service, you are responsible for any
    information you or your End Users provide to the third party, and AWS has no responsibility or liability for
    third party services. Providers of third party services may change or discontinue the functionality or features
    of their service. Alexa for Business may allow you or your End Users to interact with or operate other products,
    such as lights, appliances, or video conferencing equipment, and AWS has no responsibility or liability for such
    products.

    59.5. Alexa for Business is not intended for use in, or in association with, the operation of any hazardous
    environments or critical systems that may lead to serious bodily injury or death or cause environmental or
    property damage, and you are solely responsible for liability that may arise in association with such use.


    59.6. You may not market, advertise, or direct Alexa for Business towards anyone under the age of 18.



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    59.7. Certain Alexa-related communication services, such as the ability to send and receive messages, calls,
    and connect with other users (collectively, “Alexa Communication”), are sold and provided by AMCS LLC
    ("AMCS"), an affiliate of AWS, not AWS, but are otherwise subject to the terms of the Agreement. Your use of
    Alexa Communication is also subject to the Alexa Communication Usage Guidelines, which are part of these
    terms. You, your End Users, or other call participants may be able to ask Alexa for Business to help with
    certain functions during a call, such as “Alexa, volume up” and “Alexa, hang up.” Certain Alexa Communication
    services are provided by our third party service providers, and we may provide them with information, such as
    telephone numbers, to provide those services.

    59.8. Alexa Calling and Messaging are not a replacement for traditional two-way telephone or mobile phone
    service, and do not function as such. You acknowledge that Alexa Calling and Messaging do not support or
    carry emergency calling to any emergency services personnel or public safety answering points (“Emergency
    Services”), such as 911, and cannot determine the physical location of your devices or your End Users. Alexa
    Calling and Messaging are not designed or intended to be used to send or receive emergency communications
    to any police, fire department, hospital, or any other service that connects a user to a public safety answering
    point. You should ensure you can contact your relevant emergency services providers through a mobile,
    landline telephone, or other service acceptable to your local 911 provider. You understand and agree that it is
    your responsibility to: (a) make alternative arrangements for you and your End Users that may use Alexa
    Calling and Messaging to access Emergency Services and (b) inform all End Users that may use Alexa Calling
    and Messaging and Alexa for Business of these limitations and how they may access Emergency Services via
    other means, including the alternative arrangements that you have made available. Neither AWS nor its
    affiliates will be liable for any damages resulting from any Emergency Services call or any inability to place an
    Emergency Services call using Alexa Calling and Messaging and Alexa for Business. You agree to indemnify
    and hold AWS and its affiliates harmless for any claims referring or relating to any Emergency Services call or
    any inability to place an Emergency Services call using Alexa Calling and Messaging and Alexa for Business.

    59.9. You and recipients of your or your End Users’ calls or messages may be required to pay carrier fees for
    data usage. AMCS has no responsibility for such fees.


    60. Amazon SageMaker

    60.1. You are responsible for providing legally adequate privacy notices to End Users of your products or
    services that use Amazon SageMaker (including End Users in your private workforce when using Amazon
    SageMaker Ground Truth) and obtaining all necessary consents from such End Users.


    60.2. By using NVIDIA Corporation’s software, toolkits and drivers, you agree to be bound by the terms and
    conditions of the NVIDIA Cloud End User License Agreement.

    60.3. Amazon SageMaker is not intended for use in, or in association with, the operation of any hazardous
    environments or critical systems that may lead to serious body injury or death or cause environmental or
    property damage, and you are solely responsible for liability that may arise in connection with any such use.


    60.4. When using the public workforce of Amazon SageMaker Ground Truth: (a) you may not provide datasets
    that contain protected health information, personally identifying information, or other personal data, (b) you
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    may not provide datasets that contain adult content without marking it as containing adult content, and (c)
    you acknowledge and agree that Your Content provided to the public workforce may be moved outside of the
    AWS region where you are using Amazon SageMaker Ground Truth.

    60.5. Amazon Sagemaker Clarify uses statistical analysis techniques to generate metrics that can be used to
    evaluate statistical bias in data and machine learning models, and to explain how models generate
    predictions. The output provided by Amazon SageMaker Clarify is not determinative of the existence or
    absence of statistical bias, or a comprehensive answer for how a model generates predictions. Such output is
    not legal advice and should be independently evaluated as appropriate for your use case.

    60.6. Amazon SageMaker Edge Manager collects performance and usage metrics and data regarding your use
    of the Service, including model version, inference and upload times, and diagnostic data. We may use these
    metrics and data to provide, maintain, and improve the quality and feature sets of the Services and AWS
    Content.


    60.7. We may change SageMaker Savings Plan (“SM Savings Plan”) pricing or terminate the program at any
    time. Any price changes will not apply to previously purchased SM Savings Plans. All amounts paid in
    connection with SM Savings Plans are nonrefundable, except that if we terminate the Agreement other than
    for cause, or terminate the SM Savings Plan program, we will refund you a pro rata portion of any up-front fee
    paid. SM Savings Plans are nontransferable and noncancellable, so you will be charged for the duration of the
    term you selected, even if you terminate the Agreement. Upon expiration or termination of the term of SM
    Savings Plans, the reserved pricing will expire and standard on-demand usage prices will apply. You are
    responsible for determining if you are subject to any limitations arising from the purchase or use of the SM
    Savings Plan and for complying with any applicable laws, policies, terms or conditions governing your
    payment of up-front fees, including any fiscal or appropriation laws, or other policies or restrictions governing
    up-front payments for goods or services.


    60.8. Amazon SageMaker Studio Lab

              60.8.1. You acknowledge that we may store your Content that is processed by Amazon SageMaker
              Studio Lab in AWS regions outside the AWS region where you are using Amazon SageMaker Studio
              Lab.


              60.8.2. Amazon SageMaker Studio Lab is provided for training and educational purposes and is not
              intended for production workloads. AWS may modify your ability to access or use Amazon SageMaker
              Studio Lab at any time, including any usage or resource limits. Access to Amazon SageMaker Studio
              Lab features and compute resources, including CPUs and GPUs, are not guaranteed.


              60.8.3. If during the previous 3 months you have registered no usage of your Amazon SageMaker
              Studio Lab account, we may delete your Amazon SageMaker Studio Lab account and any associated
              Content upon 30 days prior notice to you. Deleting your Amazon SageMaker Studio Lab account
              permanently and automatically deletes the information associated with your account and any
              associated Content.


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              60.8.4. For purposes of your use of Amazon SageMaker Studio Lab, Amazon Web Services, Inc. is the
              AWS Contracting Party under the Agreement.


    61. AWS AppSync

    You agree not to and will not attempt to perform any network discovery or load testing of Your Content
    inside AWS AppSync unless expressly authorized by us in writing.


    62. Amazon Sumerian

    62.1. Amazon Sumerian consists of an integrated development environment and related assets and tools we
    make available here (collectively, “Sumerian Materials”).

    62.2. In addition to the rights granted to AWS Content under the Intellectual Property License, AWS, Inc. also
    grants you a limited, revocable, non-exclusive, non-sublicensable (except to End Users as provided below),
    non-transferrable license to do the following during the Term:


    (a) Use, reproduce, modify, and create derivative works of the Sumerian Materials to develop and support 3D,
    augmented reality (“AR”) and virtual reality (“VR”) applications that run on AR- or VR- enabled (or compatible)
    platforms, mobile devices and web browsers (each such work, a “Sumerian Scene”);


    (b) Use, reproduce, modify, create derivative works of, publicly display, publicly perform, and distribute
    (including via third party distributors as long as such distribution is done through the applicable Sumerian
    Scenes’ published URL) to End Users the Sumerian Materials (including any permitted modifications and
    derivatives) as part of a Sumerian Scene; and

    (c) Sublicense the rights set forth in this Section 62.2 to your End Users solely for the purpose of enabling
    your End Users to use and modify your Sumerian Scene.

    62.3. Each Sumerian Scene must provide material content or functionality beyond that provided by the
    Sumerian Materials, and the Sumerian Materials must be integrated into each Sumerian Scene such that they
    are not separately usable by End Users.


    63. AWS RoboMaker

    63.1. AWS RoboMaker includes an integrated development and simulation environment and related assets
    and tools we make available here (collectively, “RoboMaker Materials”).

    63.2. In addition to the rights granted to AWS Content under the Intellectual Property License, AWS, Inc. also
    grants you a limited, revocable, non-exclusive, non-sublicensable (except to End Users as provided below),
    non-transferrable license to do the following during the Term:


    (a) You may use, reproduce, modify, and create derivative works of the RoboMaker Materials to develop and
    support AWS RoboMaker test and simulation environments that run only on your AWS or your on-premises
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    computing resources (each such simulation environment, a “RoboMaker Simulation”).


    (b) You may use, reproduce, modify, create derivative works of, publicly display, publicly perform, and
    distribute to End Users the RoboMaker Materials (including any permitted modifications and derivatives) as
    part of a RoboMaker Simulation.


    (c) You may sublicense the rights set forth in this Section 63.2 to your End Users solely for the purpose of
    enabling your End Users to use and modify your RoboMaker Simulation.


    63.3. Each RoboMaker Simulation must provide material content or functionality beyond that provided by the
    RoboMaker Materials, and the RoboMaker Materials may not be distributed to End Users except as part of a
    RoboMaker Simulation.


    64. Amazon FSx

    64.1. Amazon FSx for Windows File Server. Use of Microsoft Software on Amazon FSx for Windows File Server
    is subject to Section 5.1 above. Microsoft is an intended third-party beneficiary of this Section 64.1, with the
    right to enforce its provisions.


    64.2. Amazon FSx for NetApp ONTAP. AWS may share Account Information, logs or other usage information
    with NetApp to enable NetApp to provide technical and sales support.


    65. AWS Security Assurance Services

    65.1. “AWS Security Assurance Services” are advisory and consulting services that AWS provides under a
    statement of work (“SOW”) to help you run regulated data workloads using other Services. AWS Security
    Assurance Services are provided by AWS Security Assurance Services LLC (“SAS”) or certain of its affiliates. SAS
    is an affiliate of AWS. AWS Security Assurances Services are “Services” for the purposes of the Agreement.

    65.2. SAS or any of its affiliates may enter into a SOW with you to provide AWS Security Assurance Services.
    For the purposes of each SOW, the term “SAS” in the SOW and the term “AWS” or “SAS” in the Agreement
    refer only to the SAS entity that executes the SOW, and no other AWS or SAS entity has any obligations under
    such SOW. Each SOW (together with the Agreement as amended by such SOW) is intended by the parties as a
    final, complete and exclusive expression of the terms of their agreement and supersedes all prior agreements
    and understandings (whether oral or written) between the parties with respect to the subject matter of that
    SOW.


    65.3. SAS, or one of its affiliates on behalf of SAS, will invoice you monthly for the AWS Security Assurances
    Services. Payments for AWS Security Assurances Services are not refundable.


    65.4. SAS does not provide legal advice. You are responsible for making your own assessment of whether your
    use of the Services meets applicable legal and regulatory requirements.




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    65.5. Other than Third Party Content, Content that SAS provides as part of the AWS Security Assurance
    Services is AWS Content. You are solely responsible for testing, deploying, maintaining and supporting
    Content provided or recommended by SAS.


    65.6. SAS may develop Content consisting of either (a) documents and diagrams (“Documents”) or (b)
    software (in source or object code form), sample code, or scripts (“Software”) for you as part of the AWS
    Security Assurance Services (such Documents and Software, “Developed Content”). Subject to any non-
    disclosure agreement in effect between you and SAS, SAS is not precluded from developing, using, or selling
    products or services that are similar to or related to the Developed Content. Any Developed Content
    provided to you by SAS as part of the AWS Security Assurance Services under a SOW is licensed under
    the following terms:

    SAS licenses any Documents to you under the Creative Commons Attribution 4.0 International License (CC-BY
    4.0); and


    SAS licenses any Software to you under the Apache License, Version 2.0.


    65.7. Some Developed Content may include AWS Content or Third Party Content provided under a separate
    license. In the event of a conflict between Section 65.6 above and any separate license, the separate license
    will control with respect to such AWS Content or Third Party Content.


    65.8. Any materials or information that you own or license from a third party and provide to SAS for the
    purposes of the AWS Security Assurance Services are Your Content.


    66. Amazon WorkLink

    66.1. You and your End Users may only use the Amazon WorkLink client software on devices owned or
    controlled by you or your End Users and solely to access Your Content for internal business purposes. Each
    End User may be permitted to use a limited number of devices or sessions in any calendar month.

    66.2. As part of regular operations, Amazon WorkLink may access your End Users’ devices that are provisioned
    as part of the Amazon WorkLink setup to perform configurations, health checks, and diagnostics on a regular
    basis. During the performance of these tasks, Amazon WorkLink will only retrieve performance, log data, and
    other information related to the operation and management of the Service.


    67. AWS Training

    67.1. “AWS Training” means the training programs that AWS provides in connection with the Services and
    includes instructor-led and self-paced digital classes, labs, and other training sessions and materials. AWS
    Training is a “Service” for purposes of the Agreement. References to “AWS” in any Training Order or Order
    Confirmation for AWS Training mean the AWS contracting entity for the ordered AWS Training, and no other
    AWS entity will have any obligations for such ordered AWS Training.




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    67.2. The additional terms and conditions here apply to AWS Training that is instructor led, in whole or in
    part, provided in the applicable jurisdictions.


    67.3. Training Investment Funding. If you are part of, or substantially owned, funded, managed, or controlled
    by, any government at any level, any international governing/regulatory body, any quasi-governmental entity,
    or any publicly funded institution, and if AWS provides you any funding or discount in the Training Order or
    Order Confirmation for AWS Training related to the delivery of the listed purchased classes (“Discount”), then
    you agree with the following terms:


            67.3.1. You acknowledge that the Discount is solely for the purpose of increasing your cloud
            competence; is not intended to result in any favorable or otherwise beneficial treatment nor to reward
            or influence any business activity or competitive bid; is offered independently of any past, current, or
            prospective commercial transaction; and is not provided in furtherance of any forthcoming competitive
            procurement/solicitation; and

            67.3.2. You certify that, as applicable, you have confirmed with an appropriate ethics official that there
            are no federal, state, local or institutional ethics or procurement laws, regulations, or other rules that
            would restrict or prohibit your receipt of any Discount.


    68. AWS Certification

    “AWS Certification Program” means the program through which AWS makes available professional
    certifications and other credentials in connection with the Services. The AWS Certification Program is a
    “Service” for purposes of the Agreement. To participate in the AWS Certification Program, you must agree to
    the Certification Program Agreement (“CPA”). To the extent there is a conflict between the Agreement and the
    CPA, the CPA controls.


    69. Migration Evaluator

    Migration Evaluator collects performance and usage metrics and data about your virtual machine image(s)
    and IT infrastructure; software packages and applications; system, equipment, and application configuration,
    processes and performance; network configurations, communications and dependencies; and the installation
    and operation of Migration Evaluator and its components. We may use these metrics and data to provide,
    maintain, and improve the quality and feature sets of the Services and AWS Content.


    70. AWS IQ

    70.1. AWS IQ Experts (“Providers”) offer their services (“Provider Services”) as independent contractors, and
    are not employees of you or us. AWS is not a party to the agreement between you and any Providers for their
    Provider Services, is not responsible or liable for Provider Services, and does not guarantee the quality or
    accuracy of Provider Services. For avoidance of doubt, any certification that a Provider obtains from us only
    certifies that the Provider has passed a test intended to evaluate the Provider’s proficiency and understanding
    of a particular AWS Service or area of knowledge to which that certification relates, and is not a guarantee


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    that the Provider Services will be performed at any particular level of quality, speed, or to your specific
    requirements.


    70.2. AWS charges service fees for transactions between you and Providers on the AWS IQ marketplace. AWS
    only collects these service fees if you and a Provider pay and receive payment through the AWS IQ
    marketplace. Therefore, for 24 months from the time you identify a Provider through AWS IQ, you agree to
    use AWS IQ as your exclusive method to pay for Provider Services. For avoidance of doubt, if you did not
    identify a Provider through use of AWS IQ, such as if you worked with a Provider prior to connecting with that
    Provider on AWS IQ, then this section does not apply.


    70.3. You acknowledge and agree that we may use information from AWS IQ listings, proposals, chat
    communications, and additional terms proposed or agreed to between you and Providers on AWS IQ to
    develop and improve the quality and feature set of AWS IQ.

    70.4. If you choose to grant Providers access to your AWS account, you are solely responsible and liable for (a)
    any actions taken by the Provider in your account; (b) the Provider’s use of Your Content or use of the Services
    or AWS Content; (c) ensuring the Provider complies with your obligations under the Agreement, the
    Acceptable Use Policy, any other Policies, the Intellectual Property License and applicable laws; (d) ensuring
    the Provider does not use the Services or AWS Content in any manner or for any purpose other than as
    expressly permitted by the Agreement and the Intellectual Property License; and (e) ensuring Provider does
    not attempt to (i) modify, distribute, alter, tamper with, repair, or otherwise create derivative works of any
    AWS Content or other Content included in the Services (except to the extent Content included in the Services
    is provided to you under a separate license that expressly permits the creation of derivative works), (ii) reverse
    engineer, disassemble, or decompile the Services or AWS Content or apply any other process or procedure to
    derive the source code of any software included in the Services or AWS Content (except to the extent
    applicable law doesn’t allow this restriction), (iii) access or use the Services in a way intended to avoid
    incurring fees or exceeding usage limits or quotas, or (iv) resell or sublicense the Services or AWS Content. You
    will immediately revoke Provider’s access to your AWS account if you become aware of any violation of your
    obligations under the Agreement or the Intellectual Property License caused by a Provider with access to your
    AWS account. If you use AWS IQ’s feature that allows you to grant a Provider access to your account, AWS may,
    but is not obligated to, review activities in your account for security purposes, and may revoke the Provider’s
    access at any time.

    70.5. You release us (and our agents and employees) from claims, demands, and damages (actual or
    consequential) of any and every kind and nature, known or unknown, suspected or unsuspected, disclosed and
    undisclosed, arising out of or in any way connected with your use of the AWS IQ marketplace.


    71. AWS Cloud WAN

    71.1. AWS Cloud WAN in Japan is sold and provided by AMCS LLC, an affiliate of AWS, and not AWS, but is
    otherwise subject to the terms of the Agreement.

    71.2. AWS Cloud WAN in Singapore is sold and provided by AMCS SG PRIVATE LIMITED, an affiliate of AWS,
    and not AWS, but is otherwise subject to the terms of the Agreement.

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    72. AWS CodeStar Notifications

    AWS CodeStar Notifications utilizes one or more of the following: Amazon Simple Notification Service
    (Amazon SNS), Amazon Simple Email Service (SES), and/or AWS Chatbot. If utilized, your use of AWS CodeStar
    Notifications is also subject to the terms that govern those Services.


    73. AWS Data Exchange

    73.1. The AWS Marketplace Service Terms apply to your use of AWS Data Exchange. Your use of Content
    obtained through AWS Data Exchange remains subject to the AWS Acceptable Use Policy, even if used outside
    of our Services.


    73.2. You may not use any Content obtained through AWS Data Exchange that was anonymized, de-identified,
    or otherwise disassociated from an identifiable person in any manner that would attempt to re-identify, de-
    anonymize, or otherwise associate such Content with an identifiable person.


    74. AWS End of Support Migration Program for Windows Server

    74.1. The AWS End of Support Migration Program (EMP) for Windows Server Service, including any tools
    provided for the EMP Service (which are AWS Content), may be used solely for the purpose of migrating Your
    applications or other Content to Amazon EC2 or other AWS Services.


    74.2. You acknowledge that the EMP Service is designed to migrate your applications and other Content to
    AWS Services and you may not use the EMP Service, including any tools provided for the EMP Service, for
    ongoing use outside of the AWS Services (e.g., on your on-premises systems), except that you may temporarily
    run your applications or other Content on your on-premises systems utilizing the EMP Service for up to 30
    days to verify functionality prior to migration.


    74.3. You consent to the collection and provision of the data collected by the EMP Service and its associated
    software and components, including information about your virtual machine image(s); software packages;
    system, equipment, and application configuration, processes and performance; network configurations,
    communications and dependencies; relationships between the foregoing; and information about the
    installation and operation of the EMP Service and its associated software and components (“Migration
    Information”). Migration Information may be used to operate, maintain, and improve the quality and feature
    set of the Services.


    75. Amazon Fraud Detector

    75.1. AWS is not a consumer reporting agency as defined by the Fair Credit Reporting Act, 15 U.S.C. §1681 et
    seq. (“FCRA”), or the equivalent under similar laws, and Amazon Fraud Detector does not include or provide
    “consumer reports” as defined in the FCRA. You may not use Amazon Fraud Detector to determine any
    person’s financial status, financial history, creditworthiness, or eligibility for insurance, housing, or
    employment.

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    75.2. You will not, and will not allow any third-party to, use Amazon Fraud Detector to, directly or indirectly,
    develop or improve a similar or competing product or service.


    75.3. You agree and instruct that: (a) we may use, and store Your Content that is processed with Amazon
    Fraud Detector (“Fraud Detector Content”) to maintain and provide the Service (including development and
    improvement of the Service and its underlying technologies); (b) we may use and store Fraud Detector
    Content that is not personal data to develop and improve other AWS fraud prevention services; and (c) solely
    in connection with the usage and storage described in clauses (a) and (b), we may store such Content in an
    AWS region outside of the AWS region where you are using Amazon Fraud Detector. By following a process we
    provide you, you may instruct AWS not to use or store Your Content processed by Amazon Fraud Detector to
    develop and improve Amazon Fraud Detector or other AWS fraud prevention services.


    76. Amazon Augmented AI

    76.1. You are responsible for providing legally adequate privacy notices to End Users of your products or
    services that use Amazon Augmented AI (including End Users in your private workforce) and obtaining all
    necessary consents from such End Users. You represent to us that you have provided all necessary privacy
    notices and obtained all necessary consents.


    76.2. When using the Amazon Mechanical Turk workforce of Amazon Augmented AI: (a) you may not provide
    data or content that contains protected health information or other information that is identifiable to a
    specific person, and (b) you acknowledge and agree that Your Content provided to the Amazon Mechanical
    Turk workforce may be moved outside of the AWS region where you are using Amazon Augmented AI.

    76.3. When using the third party vendor workforce option of Amazon Augmented AI, you are responsible for
    ensuring that the vendor meets any compliance requirements applicable to any personal data or confidential
    information in your data or content. You may not share data or content that contains protected health
    information with the third party vendor workforce.


    77. Amazon Honeycode

    77.1. End User Permissions. When you access a Honeycode Team established under another Amazon
    Honeycode account, you will be an End User for purposes of Honeycode.


            77.1.1. Honeycode allows you to collaborate with other End Users by inviting them to a team that you
            establish under your Honeycode account (“Honeycode Team”). You may invite and enable End Users to
            access certain Honeycode features under your Honeycode Team(s). You may grant these End Users
            permissions to create, edit, and share your Honeycode workbooks, apps, automations, and other
            Honeycode assets; and permissions to invite additional End Users to do the same. You are responsible
            for the conduct of End Users on your Honeycode Team(s), including the content they create, and for
            maintaining all End User permissions for purposes of data security and access. You are responsible for



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            all fees you and End Users on your Honeycode Team(s) may accrue for using Honeycode or any affiliated
            service.


            77.1.2. You or End Users you delegate with administrative privileges over certain Honeycode features
            (“Honeycode Team Administrators”) may manage access, use, and permissions within your Honeycode
            Team. Honeycode Team Administrators may also control End User access to certain administrative
            functionality, including changing, adding, or removing permissions, or changing billable tiers.


            77.1.3. Unless you delegate your permissions of your Honeycode Team, you agree that termination of
            your Honeycode account or deletion of any of your Content in Honeycode, whether by you or by us, may
            also terminate your End Users’ access to your Content and may delete any associated End User Content.


    77.2. Nonuse. If during the previous 3 months you have registered no usage of your Honeycode account, we
    may delete, without liability of any kind, your account and any associated Content, upon 30 days prior notice
    to you.


    77.3. Workbooks for Data Storage. You may only use Honeycode for its intended purpose as set forth herein
    and in the technical documentation. Any other use, including but not limited to, creating and maintaining
    multiple workbooks for the primary purpose of storing and accessing data, is not permitted and may result in
    us deleting your Content.


    78. Wavelength Zones/Local Zones

    For the Service Level Agreements applicable to any Services or Service workloads that you run in Wavelength
    Zones or Local Zones, Service Credits are calculated as a percentage of the total charges paid by you
    (excluding one-time payments such as upfront payments made for Reserved Instances) for the individual
    Service that runs in the affected Wavelength Zones or Local Zones, respectively, for the monthly billing cycle
    in which the unavailability occurred.


    79. Amazon Braket

    79.1. If you use Amazon Braket to access quantum computing hardware operated by one of the third-party
    hardware providers listed here (each a “Hardware Provider”), you: (1) acknowledge that the Content you
    provide in connection with your use of Amazon Braket may be processed by the Hardware Provider outside of
    facilities operated by AWS; and (2) authorize AWS to transfer such Content to the Hardware Provider for
    processing.


    79.2. We may change, deprecate or discontinue any Service Offering that relates to services offered by any
    Hardware Provider at any time without prior notice to you.


    80. Amazon Elastic Container Registry Public

    80.1. Amazon Elastic Container Registry Public (Amazon ECR Public) is a public registry that allows you to
    upload and share Content that anyone with or without an AWS account (“Registry Users”) can download and

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    use. In order for you to upload and share Content through Amazon ECR Public, you must grant AWS and
    Registry Users a license to the Content in accordance with Sections 80.2 and 80.3 below.


    80.2. By uploading Content to Amazon ECR Public, you hereby grant AWS and its Affiliates a worldwide, non-
    exclusive, fully paid-up, royalty-free license to store, parse, copy, reproduce (including by making mechanical
    reproductions), reformat, transmit, display, and perform the Content in connection with providing Amazon
    ECR Public, and, with respect to any Third-Party Content you upload that is subject to an open source or
    Third-Party Content license, you represent and warrant that the terms for such Third-Party Content permit
    AWS and its Affiliates to store, parse, copy, reproduce (including by making mechanical reproductions),
    reformat, transmit, display, and perform the Content in connection with providing Amazon ECR Public.


    80.3. You may specify the terms under which you license Your Content to Registry Users. If you do not specify
    such terms when you upload Your Content, you hereby grant to any other Registry User a non-exclusive
    license to access, download, use, modify or otherwise exploit Your Content for any personal or business
    purposes. If you upload and share any Third-Party Content to Amazon ECR Public, you are responsible for
    ensuring that you have the rights and licenses necessary to do so.


    81. Industrial AI Services

    81.1. “Industrial AI Services” means, collectively, Amazon Lookout for Vision, Amazon Lookout for Equipment,
    Amazon Monitron, and AWS Panorama. “Industrial AI Content” means Your Content that is processed by an
    Industrial AI Service.


    81.2. Industrial AI Services use machine learning models that generate predictions based on patterns in data.
    Output generated by a machine learning model is probabilistic and should be evaluated for accuracy as
    appropriate for your use case, including by employing human review of such output. Output provided by
    Amazon Lookout for Equipment and Amazon Monitron should not be used as a substitute for regular,
    scheduled maintenance on machinery and equipment. You and your End Users are responsible for all decisions
    made, advice given, actions taken, and failures to take action based on your use of Industrial AI Services.


    81.3. You agree and instruct that for Amazon Lookout for Vision, Amazon Lookout for Equipment and Amazon
    Monitron: (a) we may use and store Industrial AI Content that is processed by each of the foregoing Industrial
    AI Services to maintain and provide the applicable Industrial AI Service (including development and
    improvement of such Industrial AI Service and its underlying technologies); (b) we may use and store Industrial
    AI Content that is not personal data to develop and improve AWS and affiliate machine-learning and artificial-
    intelligence technologies; and (c) solely in connection with the development and improvement described in
    clauses (a) and (b), we may store such Industrial AI Content in an AWS region outside of the AWS region where
    you are using such Industrial AI Service. You may instruct AWS not to use and store Industrial AI Content
    processed by an Industrial AI Service to develop and improve that Service or technologies of AWS or its
    affiliates by (i) for Amazon Monitron, contacting AWS Support and following the process provided to you, and
    (ii) for Amazon Lookout for Vision and Amazon Lookout for Equipment, by configuring an AI services opt-out
    policy using AWS Organizations.




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    81.4. You are responsible for providing legally adequate privacy notices to End Users of your products or
    services that use any Industrial AI Service and obtaining any necessary consent from such End Users for the
    processing of Industrial AI Content and the storage, use, and transfer of Industrial AI Content as described
    under this Section.


    81.5. You will not, and will not allow any third-party to, use Industrial AI Services to, directly or indirectly,
    develop or improve a similar or competing product or service. The foregoing does not apply to AWS Panorama
    to the extent you are developing hardware appliances that integrate with AWS Panorama, to Amazon Lookout
    for Equipment, or to Amazon Monitron.

    81.6. Industrial AI Services are not intended for use in, or in association with, the operation of any hazardous
    environments or critical systems that may lead to serious bodily injury or death or cause environmental or
    property damage, and you are solely responsible for liability that may arise in connection with any such use.

    81.7. Notwithstanding any other provision of the Agreement, you may incorporate into your programs or
    applications, and distribute as incorporated in such programs or applications, the binary code that we
    distribute for Industrial AI Services with the AWS Mobile SDKs.


    82. Amazon Location Service

    82.1. When you use a feature of Amazon Location Service that is identified to you as being provided by a
    third-party geolocation service provider listed here (each such feature, including Maps, Places, and Routing, a
    “Geolocation Provider Feature,” and each such provider, a "Geolocation Provider”), you authorize AWS to
    transmit your request parameters (e.g., location searches) to the Geolocation Provider for processing which
    may be outside of the AWS region in which your request was made. However, any Open Data requests will be
    processed by AWS in the AWS region in which your request was made.


    82.2. AWS may change, deprecate, or discontinue any Geolocation Provider or Geolocation Provider Feature at
    any time upon notice to you.


    82.3. For Geolocation Providers other than Open Data, you may not:

            a. Scrape, systematically collect, or duplicate the data provided to you from Amazon Location Service
            (e.g., map tiles, forward and reverse geocodes, routes, drive times/isochrones, and other data)
            (collectively, “Location Data”), including for the purpose of avoiding use of Amazon Location Service.

            b. Use Location Data to create or offer a product or service with features that are similar to the services
            of the Geolocation Providers, where such product or service does not contain substantial, independent
            value and features beyond the services of the Geolocation Providers.

            c. Incorporate Amazon Location Service, including any Location Data, into any integrated in-vehicle
            infotainment system, any systems for autonomous control of the vehicle, or any real-time dynamic
            routing or route optimization applications installed on in-vehicle hardware. In-vehicle mobile device
            applications, including ones mirroring onto a vehicle’s onboard display system, are permitted.

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            d. Use, incorporate, modify, distribute, provide access to, or combine any Location Data in a manner that
            would subject the Location Data to open-source or open-database license terms that require any part of
            the Location Data to be disclosed to third parties, licensed to third parties for the purpose of making
            derivative works, or redistributed to third parties at no charge.


            e. Store or cache Location Data, except (i) for geocoding and reverse-geocoding results (other than as
            prohibited in Section 82.4.a) when you indicate the result will be stored in the API parameter or (ii) to
            comply with legal, regulatory, or reasonable internal record-keeping requirements.

            f. Use Location Data to develop paper maps or an atlas (digital or otherwise) for purposes of sale or
            distribution to others.


            g. Place your company name or marks, or any third-party advertisements, on or in the Location Data
            (e.g., on a map display).

    82.4. In addition to the restrictions in Section 82.3, if you use HERE as your Geolocation Provider, you may not:

            a. Store or cache any Location Data for Japan, including any geocoding or reverse-geocoding results.

            b. Layer routes from HERE on top of a map from another third-party provider, or layer routes from
            another third-party provider on top of maps from HERE.


    82.5. In addition to the restrictions in Section 82.3, if you use Esri as your Geolocation Provider, you may not,
    without our express written consent, use any of its Geolocation Provider Features for asset management or
    asset tracking use cases (i.e., to locate, track, or route any vehicles, cargo, personnel, or other assets that you
    use in your business).


    82.6. You may not use Amazon Location Service for any hazardous, unsafe, or illegal activities, including any
    use in, or association with, any hazardous environments or critical systems that may lead to serious bodily
    injury or death or cause environmental or property damage. You are solely responsible for all liability that
    may arise in connection with any such use.


    82.7. If we determine you are using Amazon Location Service in a manner intended to avoid incurring
    appropriate usage fees, we may suspend or terminate your access to, or limit your use of, Amazon Location
    Service.


    82.8. Open Data uses OpenStreetMap data. OpenStreetMap is licensed under the Open Data Commons Open
    Database License (ODbL) by the OpenStreetMap Foundation. You agree to comply with the ODbL and
    acknowledge the attribution and share-alike provisions therein.


    82.9. Attribution for Location Data can be found here. You must pass through attribution for Location Data
    that you make available to others via your application or its product documentation. If any Location Data has
    attribution details attached or incorporated, you may not remove, modify, or obscure (or permit any End Users
    to remove, modify, or obscure) any copyright, trademark notice, restrictive legend, or other proprietary right
    notices supplied to you.
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    83. AWS Managed Services

    83.1. If you request that AWS Managed Services be provided for any software or service that is not expressly
    identified as supported in the AWS Managed Services user guides posted on the AWS Site (“Customer-
    Requested Configuration”), any AWS Managed Services provided for such Customer-Requested Configuration
    will be treated as a “Beta Service” under these Service Terms.


    83.2. You represent and warrant to AWS that the person requesting any of your AWS accounts to be an AWS
    Managed Services Account (as defined in the AWS Managed Services user guides posted on the AWS Site) is
    authorized to make such requests and procure AWS Managed Services on your behalf and with respect to such
    AWS accounts.

    83.3. AWS and its affiliates will not be liable to you for any damages arising from (a) AWS’s actions taken
    pursuant to any instructions or requests that you provide or approve, (b) you not following an instruction or
    recommendation from AWS, (c) your delay or withholding of approval for AWS to take a requested action, or
    (d) any change by you to your Managed Environment (as defined in the AWS Managed Services user guides
    posted on the AWS Site).


    84. Amazon FinSpace

    Amazon FinSpace is a tool to help you analyze data for investment and business decisions. It is not a
    substitute for the judgment and experience of the user when making investment and business decisions.
    Amazon FinSpace does not provide investment advice, make investment recommendations or evaluate the
    suitability of any investment or investment strategy.


    85. Amazon Elastic Kubernetes Service Anywhere (Amazon EKS Anywhere)
    Support.
    85.1. You must purchase AWS Enterprise Support in order to subscribe to Amazon EKS Anywhere Support.
    Payments for subscriptions to Amazon EKS Anywhere Support are not refundable.

    85.2. Each Amazon EKS Anywhere Support Subscription may only be applied to one Amazon EKS Anywhere
    cluster.

    85.3. We may request that you implement specific updates and provide us with Account Information, logs or
    other usage information so that we can provide you Amazon EKS Anywhere Support and verify your Support
    Subscription. If you request support for Isovalent’s software, such as Cilium, we may share your Account
    Information, logs or other usage information with Isovalent to provide technical support.


    86. AWS DeepRacer Student

    86.1. You acknowledge that we may store your Content that is processed by AWS DeepRacer Student in AWS
    regions outside the AWS region where you are using AWS DeepRacer Student.
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    86.2. If you participate in AWS DeepRacer Student competitions or related activities (including preseason
    exhibitions), AWS may publicly share your username, avatar, and performance results, such as via
    leaderboards, blog posts, and social media.

    86.3. AWS DeepRacer Student is provided for training and educational purposes and is not intended for
    production workloads. AWS may modify your ability to access or use AWS DeepRacer Student at any time,
    including any usage or resource limits. Access to AWS DeepRacer Student features and compute resources,
    including CPUs and GPUs, are not guaranteed.


    86.4. If during the previous 12 months you have registered no usage of your AWS DeepRacer Student account,
    we may delete your AWS DeepRacer Student account and any associated Content upon 30 days prior notice to
    you. Deleting your AWS DeepRacer Student account permanently and automatically deletes the information
    associated with your account and any associated Content.

    86.5. For purposes of your use of AWS DeepRacer Student, Amazon Web Services, Inc. is the AWS Contracting
    Party under the Agreement.


    86.6. You must be a student in high school or a higher education institution, and at least 16 years old, to use
    AWS DeepRacer Student. If you are under 18 years of age, or the age of majority in your location, you may use
    AWS DeepRacer Student only with involvement of a parent or guardian who agrees to be bound by these
    Service Terms.


    87. Amazon GuardDuty
    87.1. “Malware Content” is Your Content that the Amazon GuardDuty Malware Protection feature processes
    and identifies as being malicious or harmful.

    87.2. You agree and instruct that: (a) we may use and store Malware Content to maintain and provide Amazon
    GuardDuty (including development and improvement of Amazon GuardDuty and its underlying technologies);
    (b) we may use and store Malware Content that is not personal data to develop and improve other AWS
    security services; and (c) solely in connection with the development and improvement described in clauses (a)
    and (b), we may store such Malware Content in an AWS region outside the AWS region where you are using
    the Amazon GuardDuty Malware Protection feature. You may instruct AWS not to use and store Malware
    Content to develop and improve Amazon GuardDuty or other AWS security services by configuring an AI
    services opt out policy using AWS Organizations.


    88. AWS Wickr
    88.1. End Users.


            88.1.1. You may enable End Users to use AWS Wickr under your account. Termination of your account’s
            use of AWS Wickr may also suspend or terminate such End Users’ features or access associated with
            your account or organization.

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            88.1.2. AWS Wickr End Users can be managed by End Users with administrative privileges (“AWS Wickr
            Administrators”). AWS Wickr Administrators can (a) upgrade or downgrade End Users’ AWS Wickr
            feature set; (b) suspend End User’s access to AWS Wickr; and (c) access information about their End
            Users’ use of AWS Wickr.


    89. AWS Private 5G
    89.1. AWS Private 5G Equipment. AWS will make equipment available to you to support your use of the AWS
    Private 5G Service (the “Private 5G Equipment”). AWS, or its affiliates, maintain all rights in the Private 5G
    Equipment and is not selling, renting, leasing, or transferring any ownership, intellectual or other rights in the
    Private 5G Equipment to you. You will not, and will not purport to, assign, grant, or transfer the Private 5G
    Equipment or any interest in the Private 5G Equipment to any individual or entity, and any such purported
    assignment, grant or transfer is void.


    89.2. Facility Assessment. You will ensure that, at all times, the facility at which the Private 5G Equipment is
    located (the “Designated Facility”) meets the minimum requirements necessary to support the installation,
    maintenance, use, and removal of the Private 5G Equipment as described here and otherwise as described in
    the AWS Private 5G technical documentation or provided to you during the ordering process. When moving
    the Private 5G Equipment from the Designated Facility to a new Designated Facility, you must notify AWS of
    the new Designated Facility’s Address.


    89.3. Delivery. You will ensure that you have all necessary rights, certifications, and licenses for the delivery,
    installation, maintenance, use, and removal of the Private 5G Equipment at the Designated Facility.


    89.4. Use. You are responsible for the installation, use, and removal of the AWS Private 5G Equipment at the
    Designated Facility and returning the Private 5G Equipment to AWS as described in the AWS Private 5G
    technical documentation or provided to you during the ordering process. Except as provided for in the
    technical documentation, you will ensure that no one accesses or repairs the Private 5G Equipment. In
    addition to other rights and remedies AWS may have under the Agreement, AWS may charge a lost device fee
    if the Private 5G Equipment is lost or damaged between when it is first in your possession and when the
    carrier accepts the Private 5G Equipment for delivery back to AWS. AWS may terminate your use of AWS
    Private 5G and remove the Private 5G Equipment if you breach these terms or the terms of the Agreement
    with respect to AWS Private 5G.


    89.5. Business Support. You will remain enrolled in AWS Support at the Business level during the entire period
    of your use of AWS Private 5G.


    89.6. Security. As the Private 5G Equipment is physically located at the Designated Facility, you are responsible
    for physical security and access controls, as well as all power, networking, and environmental conditions at
    your Designated Facility. Consequently, any AWS commitments in the Agreement that depend on AWS’s
    operation of such physical security and access controls, or power, networking, and environmental conditions,
    do not apply to AWS Private 5G.

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    90. AWS SimSpace
    90.1. We may change, discontinue, or deprecate support for any third-party integrations or samples without
    prior notice.


    90.2. AWS SimSpace Weaver is designed to help customers build simulations. This may include simulation of
    real-world locations, scenarios, and assets, based on the simulation code and data you provide. Data
    generated by AWS SimSpace Weaver should be evaluated for accuracy as appropriate for your use case. You
    and your End Users are solely responsible for all decisions made, advice given, actions taken, and failures to
    act based on your use of AWS SimSpace Weaver.


    91. AWS Builder ID
    91.1. If during the previous 12 months you have registered no usage of your AWS Builder ID, we may delete
    your AWS Builder ID upon 30 days’ prior notice.


    91.2. Upon deletion of your AWS Builder ID, you will no longer have access to Your Content through your AWS
    Builder ID, and such content will be deleted.


    91.3. For purposes of your use of AWS Builder ID, Amazon Web Services, Inc. is the AWS Contracting Party
    under the Agreement.


    92. AWS Clean Rooms (Preview)

    You may not use AWS Clean Rooms or any information obtained from your use of AWS Clean Rooms to
    identify a person or associate such information with an identifiable person, unless otherwise permitted by the
    applicable third party contributor of the data.


    93. Amazon CodeCatalyst (Preview)
    93.1. When you access an Amazon CodeCatalyst Space established under another CodeCatalyst account
    (“Third-Party Space”), you are an End User of that CodeCatalyst account. This means, for example, that your
    activities within the Third-Party Space may incur fees for which that Third-Party Space owner is responsible.
    Additionally, Content you contribute to a Third-Party Space or Project within that Space (“Contributed
    Content”) as an End User is not considered Your Content for the purposes of rights and obligations under the
    terms of this Agreement. Subject to the non-exclusive license granted by Section 93.2, this does not modify
    any rights you may hold in your Contributed Content.


    93.2. Contributed Content, including issues, comments, and contributions to a Third-Party Space, may be
    viewed by others who have access to that Third-Party Space. Unless you enter into a license with other parties
    who have access to the Third-Party Space specifying different terms, you grant each party who has access to
    the Third-Party Space a nonexclusive, worldwide, irrevocable license to use, reproduce, prepare derivatives,


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    distribute, perform, and display Contributed Content. You represent and warrant that you have all rights
    necessary to grant this license.


    93.3. When you invite another CodeCatalyst account owner to collaborate in your Space, they become an End
    User of your CodeCatalyst account and their Contributed Content is considered Your Content under the terms
    of the Agreement. You are responsible for the conduct of End Users that you invite to collaborate, including
    their Contributed Content, and for maintaining all End User permissions for purposes of data security and
    access. You are responsible for all fees you and End Users may accrue for using CodeCatalyst or any affiliated
    Service in connection with your Space.


    93.4. Unless you delegate administrative permissions over your CodeCatalyst Space to another CodeCatalyst
    account owner, you agree that termination of your CodeCatalyst account or deletion of any of Your Content or
    Contributed Content in your Space, whether by you or by us, may also terminate your End Users’ access to
    Your Content and Contributed Content in your Space. In order to access billable services within or in
    connection with your CodeCatalyst account, you must link an AWS account. If you delete your CodeCatalyst
    account but have delegated administrative permissions to another CodeCatalyst account owner, your AWS
    account will continue to be billed for the billable services unless you also un-link your AWS account.


    93.5. When an End User you have invited to collaborate in your CodeCatalyst Space deletes their CodeCatalyst
    account, their Contributed Content will not be deleted from your Space. However, identifications of that End
    User, including those associated with issues, comments, and Contributed Content, may be deleted.


    Previous version(s)




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  Deutsch |
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  Español |
  Français |
  Italiano |
  Português |
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  ไทย |
  日本語 |
  한국어 |
  中文 (简体) |
  中文 (繁體)


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